Case 6:18-bl<-05944-CC.] Doc 1 Filed 09/27/18 Page 1 of 61

Fill in this information to identify your case:

 

District of

Case number (irknown):

Ofiicial Form 101

 

United States Bankruptcy Court for the:

Chapter you are filing under:

Chapter7
l:l Chapter1i
Cl Chapter12
l;l Chapter13

rii,i:i) criterion mvisioii
ZUIHSEP 217 tit 10: 21.

ii.S-qt,€=. is;izgi_il>_i§:"ij e§iiii'<'i
mgm-f mw wl éliegi<{Ms is an
M?bgf{fj amended filing

'~w
.i¢_.

Voluntary Petition for lndividuals Filing for Bankruptcy iam

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a
joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,"
the answer would he yes if either debtor owns a car. When infomiation is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. in joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the fonns.

Be as complete and accurate as possible. |f two married people are filing together, both are equally responsible for supplying correct
information |f more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

m ldentify Yourself

11. Yourfull name

Write the name that is on your
govemment-issued picture
identification (for example,
your driver’s license or
passport).

Bring your picture
identification to your meeting
with the trustee.

 

 

 

About Debtor 1: About Debtor 2 (Spouse On|y in a Joint Case):
Bonnie Thomas

First name First name

K Anthony

Middle name _Midd|e name

Kurowski~Alicea Alicea

Last name Last name

Suffix (Sr., Jr., ll, lll)

suriix (sr., Jrr, ii, iii)

 

1 2. All other names you
` have used in the last 8
years

include your married or
maiden names.

 

 

 

 

 

 

First name First name
Midd|e name Middle name
Last name Last name
First name First name
Midd|e name Midd|e name
Last name Last name

 

` 3. Only the last 4 digits of
your Social Security
number or federal
individual Taxpayer
identification number
(lTlN)

xxx-xx_ 0 5 2 9
oR

9xx»~xx-

xxx -xx~ 8 8 4 6
oR

9xx-xx-

 

Official Form 101

Voluntary Petition for individuals Filing for Bankruptcy page 1

 

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Debtor 1

Bonnie K Kurowski-Alicea

 

First Nams Middle Name

Last Name

Case number (rrknown)

 

4. Any business names
and Employer
identification Numbers
(ElN) you have used in
the last 8 years

include trade names and
doing business as names

About Debtor 1:

E\ l have not used any business names or Ele.

Project Change Consultants, LLC

About Debtor 2 (Spouse Only in a Joint Case):

m l have not used any business names or E|Ns.

 

Business name

Business name

 

Business name

Eii§~_

Business name

'EN“

ENA

 

f 5. Where you live

3033 Santa l\/|aria Ave

 

 

 

 

Number Street
Clermont FL 34715
City State ZlP Code
Lake
County

lf your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address

 

Number Street

 

P.O. Box

 

City State ZlP Ccde

 

` 6. Why you are choosing
this district to file for
bankruptcy

Check one:

m Over the last 180 days before filing this petition,
l have lived in this district longer than in any
other district

n l have another reason. Explain.
(See 28 U.S.C. § 1408.)

lf Debtor 2 lives at a different address:

 

Number Street

 

 

City State ZlP Code

 

County

lf Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address

 

Number Street

 

P.O. Box

 

 

 

 

 

City State ZlP Code

Check one:

w Over the last 180 days before filing this petition,
| have lived in this district longerthan in any
other district.

n l have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

 

 

Official Form 101

Voluntary Petition for individuals Filing for Bankruptcy page 2

Debtor 1

Case 6:18-bl<-05944-CC.] Doc 1 Filed 09/27/18 Page 3 of 61

Fi rst Name

Bonnie K Kurowski-A|icea

Middle Name

Case number (iri<nown)

 

Las\ Name

m Tell the Court About Your Bankruptcy Case

7.

The chapter of the
Bankruptcy Code you
are choosing to file
under

How you will pay the fee

Have you filed for
bankruptcy within the
last 8 years?

10. Are any bankruptcy

11.

cases pending or being
filed by a spouse who is

not filing this case with 4

you, or by a business
partner, or by an
afE|iate?

Do you rent your
residence?

Official Form 101

Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individua/s Filing
for Bankruptcy (Fonn 2010)). A|so, go to the top of page 1 and check the appropriate box.

m Chapter 7

El Chapter 11
El Chapter 12
Cl Chapter 13

Cl l will pay the entire fee when l file my petition. Please check with the clerk’s office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourse|f, you may pay with cash, cashier's check, or money order. |f your attorney is
submitting your payment on your beha|f, your attorney may pay with a credit card or check
with a pre-printed address

El l need to pay the fee in installments |f you choose this option, sign and attach the
Application for individuals to Pay The Filing Fee in Insta/Iments (thcial Form 103A).

m l request that my fee be waived (You may request this option only if you are H|ing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). li you choose this option, you must till out the App/ication to Have the
Chapter 7 Filing Fee Waived (Ofiicial Form 1033) and file it with your petition.

 

 

 

 

 

 

 

m No
cl Yes. District When Case number
MM/ DD / YYYY
District When Case number
MM/ DD /YYYY
District When Case number
MM/ DD / ¥YYY
m No
m Yes. Debtor Relationship to you
District When Case number, if known
MM l DD / YYYY
Debtor Relationship to you
Distn'ct When Case number, if known
MM / DD / YYYY
50 No. co to line 12.
U Yes. Has your landlord obtained an eviction judgment against you?

El No. co to line 12.

\;\ Yes. Fi|| out Initial Sfatement About an Evicfion JudgmentAgainst You (Form 101A) and file it as
part of this bankruptcy petition.

Voluntary Petition for Individuals Filing for Bankruptcy page 3

 

Case 6:18-bl<-05944-CC.] Doc 1 Filed 09/27/18 Page 4 of 61

never Bonnie K Kurowski-Alicea Casenumbei<i,kmn>

 

 

First Name Middie Name Lasi Name

m Report About Any Businesses You 0wn as a Sole Proprietor

 

12. Are you a sole proprietor E| NO_ 90 to part 4_
of any fu|i- or part-time
business? m Yes. Name and location of business
A sole proprietorship is a

business you operate as an
individual, and is not a

Project Change Consultants LLC

Name of business, if any

 

 

separate legal entity such as .
a Corporation' partnership’ or 3033 Santa Maria Ave
LLC_ Number Street

if you have more than one
sole proprietorship, use a

separate sheet and attach it C|ermont F|_ 34715
to this petition. C.
ity State ZlP Code

 

 

Check the appropriate box to describe your business:

n Health Care Business (as defined in 11 U.S.C. § 101(27A))
n Sing|e Asset Real Estate (as defined in 11 U.S.C. § 101(518))
El Stockbroker(as defined in 11 U.S.C. § 101(53A))

C\ Commodity Broker(as defined in 11 U.S.C. § 101(6))

ij None of the above

13. Are you filing under lf you are filing under Chapter11, the court must know whether you are a small business debtor so that it
Chapter 11 of the can set appropriate deadlines. if you indicate that you are a small business debtor, you must attach your
Bankruptcy Code and most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if

are you a small business any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
debtor?
For a definition of small

business debiol‘, 599 C\ No. l am filing under Chapter 11, but l am NOT a small business debtor according to the definition in
11 U~S-C- § 101(519)- the Bankruptcy Code.

w No. l am not filing under Chapter 11.

n Yes. | am filing under Chapter 11 and l am a small business debtor according to the dehnifion in the
Bankruptcy Code.

m Report if You Own or Have Any Hazardous Property or Any Property That Needs lmmediate Attention

 

14. Do you own or have any m No
property that poses or is
alleged to pose a threat m YBS. Whaf iS the hBZBFd?

 

of imminent and
identifiable hazard to

 

public health or safety?
Or do you own any

property that needs if immediate attention is needed, why is it needed?

 

immediate attention?
For example, do you own

 

perishable goods, or livestock
that must be fed, ora building
that needs urgent repairs?

Where is the property?

 

 

Number Sireet

 

 

City State ZlP Code

Official Form 101 Voiuntary Petiticn for individuals Filing for Bankruptcy page 4

Case 6:18-bk-05944-CC.] Doc 1 Filed 09/27/18 Page 5 of 61

Debiori Bonnie K Kurowski-Aiicea

First Name Middie Name

Last Name

m Explain Your Efforts to Receive a Briefing About Credit Counseling

Case number (irknown>

 

 

15. Teii the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy You must
truthfully check one of the
following choices. if you
cannot do so, you are not
eligible to file.

if you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101

About Debtor 1:

You must check one:

51 | received a briefing from an approved credit
counseling agency within the 180 days before i
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certificate and the payment
pian, if any, that you developed with the agency,

n i received a briefing from an approved credit
counseling agency within the 180 days before i
filed this bankruptcy petition, but l do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

C] i certify that i asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. if you do not do so, your case
may be dismissed

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days

m l am not required to receive a briefing about
credit counseling because of:

n |ncapacity. l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances

m Disabiiity. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after l
reasonably tried to do so.

l;\ Active duty. i am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briehng about credit counseling, you must file a
motion for waiver of credit counseling with the court.

About Debtor 2 (Spouse Oniy in a Joint Case):

You must check one:

M i received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and i received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

a i received a briefing from an approved credit
counseling agency within the 180 days before i
filed this bankruptcy petition, but i do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
pian, if any,

Ei i certify that i asked for credit counseiing
services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briehng, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatished with your reasons for not receiving a
briefing before you filed for bankruptcy.

if the court is satisfied with your reasons you must
still receive a briefing within 30 days after you &le.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. if you do not do so, your case
may be dismissed

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days

E] | am not required to receive a briefing about
credit counseling because of:

Cl |ncapacity. l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances

\;l Disabiiity. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the intemet, even after l
reasonably tried to do so,

n Active duty. | am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the couri.

Voiuntary Petition for individuals Filing for Bankruptcy page 5

 

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bebioii Bonnie K Kurowski-Alicea

 

First Name Middle Name

m Answer These Questions for Reporting Purposes

Last Name

Case number (irknmvn)

 

16. What kind of debts do
you have?

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose."

Cl No. co to line ieb.
Ei Yes. soto line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment

El No. co lo lino ieo_
n Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

 

 

17. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is

cl No. l am not filing under Chapter 7, Go to line 18.

Yes. l am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

 

 

 

El 1,000~5,000
El 5,001-10,000
Ei 10,001-25,000

 

excluded and m NO
administrative expenses
are paid that funds will be n YeS
available for distribution
to unsecured creditors? l
18. How many creditors do m 1-49
you estimate that you ij 50.99
°We? Ci 100-199
E.l 200-999
19. How much do you E] $0-$50,000

estimate your assets to
be worth?

20. How much do you
estimate your liabilities
to be?

msign Below

For you

Official Form 101

E] $50,001-$100,000
lIl $100,001-$500,000

El 3500,001-$1 million

E] $0-$50,000

El $50,001-$100,000
E] $100,001-$500,000
Ci $500,001-$1 million

Cl $1,000,001-$10 million
Ci $10,000,001-$50 million
liZi $50,000,001~$100 million

m $100,000,001-$500 million

Ei $1,000,001-$10 million

Ei $10,000,001-$50 million
iZl $50,000,001~$100 million
lJ $100,000,001~$500 million

El 25,001-50,000
CI 50,001-100,000
El lvloro than 100,000

Cl $500,000,001-$1 billion

lI] $1,000,000,001-$10 billion
L'.i $10,000,000,001-$50 billion
0 More than $50 billion

Ei $500,000,001-$1 billion

L'.l $1,000,000,001-$10 billion
Cl $10,000,000,001-$50 billion
L'.l More than $50 billion

l have examined this petition, and l declare under penalty of perjury that the information provided is true and

correcf.

lf l have chosen to fite under Chapter 7, l am aware that l may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. l understand the relief available under each chapter, and l choose to proceed

under Chapter 7.

|f no attorney represents me and l did not pay or agree to pay someone who is not an attorney to help me fill out
this document, l have obtained and read the notice required by 11 U.S.C. § 342(b).

l request relief in accordance with the chapter of title 11, United States Codel specified in this petition.

l understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisymentfor up to 20 years, or both.

 
 

1341,1519, and 3571.
l

2
'K izlrowski-Alicea
Signature of Debtor 1

Executed on 09/24/2018

X My Alicea

Signature of Debtor 2
Executed on 09/24/2013

MM /DD /YYYY

Voiuntary Pefition for individuals Filing for Bankruptcy

MM/ DD /YYY¥

page 6

 

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oebioii Bonnie K Kurowski~Alicea Case,,umbe,(i,know",

 

First Name Middle Name Losl Name

l, the attomey for the debtor(s) named in this petition, declare that l have informed the debtor(s) about eligibility
to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
available under each chapter for which the person is eligible. l also certify that l have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that | have no

For your attorney, if you are
represented by one

 

if Y°" are not represented knowledge after an inquiry that the information in the schedules filed with the petition is incorrect
by an attorney, you do not
need to file this page. X
Date
Signature of Attomey for Debtor MM / DD /YYYY

 

Printed name

 

Fimi name

 

Number Street

 

 

 

 

City State ZlP Code
Contact phone Email address
Bar number State

Official Form 101 Voiuntary Petition for individuals Filing for Bankruptcy page 7

 

Case 6:18-bk-05944-CC.] Doc 1 Filed 09/27/18 Page 8 of 61

Debiori Bonnie K KUrOWSki-Aiicea Case number (ifknown)

 

First Nane Middle Name

For you if you are filing this
bankruptcy without an
attorney

lf you are represented by
an attorney, you do not
need to file this page.

Official Form 101

 

Lasl Name

The law allows you, as an individua|, to represent yourself in bankruptcy court, but you
should understand that many people find it extremely difficult to represent
themselves successfully. Because bankruptcy has long-term financial and legal
consequences, you are strongly urged to hire a qualified attomey.

To be successful, you must correctly file and handle your bankruptcy case. The rules are very
technical, and a mistake or inaction may affect your rights For example, your case may be
dismissed because you did not tile a required documenf, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. lf that happens, you could lose your right to me another
case, or you may lose protections, including the benth of the automatic stay.

You must list all your property and debts in the schedules that you are required to tile with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules lf you do not list a debt, the debt may not be discharged. lf you do not list
property or properly claim it as exempt, you may not be able to keep the properh/. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete
Bankruptcy fraud is a serious crime; you could be fined and imprisoned

lf you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attomey. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federa| Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

El No
m Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be ined or imprisoned?

n No
m Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms’?

mNo

n Yes. Name of Person .
Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Ofticial Form 119).

 

By signing here, l acknowledge that l understand the risks involved in filing without an attomey. l
have read nd understood this notice, and l am aware that filing a bankruptcy case without an

attorney ycaquhts orpropertyifldo ;~-.'ipe, handle the case

   
 

   
 

 

 

 

x Bon ' rowski-Alicea X i'homas Anthony Alicea
Signature of Debtor 1 Signature of Debfor 2
bare 09/24/201 8 gate 09/1 7/201 8
MM/Do /YYYY Mll/l/ DD/YYYY
Contact phone (630) 300-8141 Contact phone (630 461'6727
Ce|| phone Cel| phone
Emaiiaddress bonniealicea@gmail.com Email address lynxil33@aol.com

 

Voiuntary Petition for individuals Filing for Bankruptcy page 8

 

Case 6:18-bk-05944-CC.] Doc 1 Filed 09/27/18 Page 9 of 61

Fill in this information to identify your case:

l:)ebloii Bonnie K Kurowski-Alicea

 

 

 

 

Flrsl Name Middle Name Lest Name

oeblor 2 Thomas A Alicea

(Spouse, if filing) First Name Middle Name Lasl Name

United States Bankruptcy Court for the; District of

case number L`.l check ifinis is an
t"k"°‘""’ amended filing

 

Official Form 1068um

Summary of Your Assets and Liabilities and Certain Statistical lnformation 12/15

 

 

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. Fil| out all of your schedules first; then complete the information on this form. lf you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

m Summarize Your Assets

Your assets
Value of what you own

1 . Schedu/e A/B: Property (Official Form 106A/B)

 

1a. Copy line 55, Total real estate, from Schedule A/B .......................................................................................................... $ w
1b. Copy line 62, Total personal property, from Schedule A/B ............................................................................................... $ 143,050.00
1c. Copy line 63, Total of all property on Schedu/e A/B ......................................................................................................... $ 408,050_00

 

 

 

m Summarize Your Liabilities

Your liabilities
Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Ofdcial Form 106D)

za. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............ $ M

3. Schedule E/F: Creditors Who Have Unsecured C/al‘ms (Offlcial Form 106E/F)
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ............................................

$ 12,000.00

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedu/e E/F .......................................

+ $ 319,409.00

 

 

 

 

 

Your total liabilities $ 721'409'00
Summarize Your lncome and Expenses
, 4. Schedule l: Your /ncome (Ochlal Form 106|) 2 1 02 00
Copy your combined monthly income from line 12 of Schedu/e / .......................................................................................... $ _-’__`--
5. Schedule J: Your Expenses (Official Form 106J)
Copy your monthly expenses from line 220 of Schedu/e J .................................................................................................... $ _LZ£§_O_O_

Official Form tOSSum Summary of Your Assets and Liabilities and Certaln Statistical lnformation page 1 of 2

 

Case 6:18-bk-05944-CC.] Doc 1 Filed 09/27/18 Page 10 of 61

Debtcri Bonnie K Kurowski’A“Cea Case number (inmown)

 

First Name Middle Name Lasl Name

m Answer These Questions for Administrative and Statistical Records

 

 

l 6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

n No. You have nothing to report on this part of the fonn. Check this box and submit this form to the court with your other schedules

m Yes

7. What kind of debt do you have?

Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose." 11 U.S.C. § 101(8). Fil| outlines 8-99 for statistical purposes. 28 U.S.C. § 159.

m Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit

this form to the court with your other schedules.

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Ochial

Form 122A-1 Line 11; OR, Form 1228 Line 11; OR, Form 1220-1 Line 14.

9, Copy the following special categories of claims from Part 4, line 6 of Scheduie E/F:

From Part 4 on Schedule E/F, copy the following:

9a. Domestic support obligations (Copy line 6a.)
9b. Taxes and certain other debts you owe the govemment. (Copy line 6b.)
9c. Claims for death or personal injury while you were intoxicated (Copy line 60.)

9d Student loans (Copy line 6f.)

9e. Obligations arising out of a separation agreement or divorce that you did not report as
priority claims (Copy line 69.)

9f. Debts to pension or profit-sharing plans, and other similar debts (Copy line 6h.) +

 

$ 2,576.00

 

 

 

 

99. Total. Add lines 9a through 9f.

 

Total claim

$ 0.00
$ 12,000.00
$ 0.00
$ 274,876.00
$ 0.00
$ 0.00
$ 286,876.00

 

 

Official Form 1068um Summary of Your Assets and Liabilities and Certaln Statistical information

page 2 of 2

 

Case 6218-bi<-05944-CC.] DOC 1 Filed 09/27/18

Fill in this information to identify your case and this filing:

Bonnie K Kurowski-Alicea

Wd<ile Name

Debior 2 Thomas Anthony Alicea

(Spouse, tt Hling) Flrel Name Mi<idle Name

Debtor 1

 

First Name Lnsi Name

 

i.aslName
United States Bankruptcy Court for the: District Of

Case number

 

 

 

Official Form 106A/B
Schedule AlB: Property

 

Page 11 of 61

Cl Check if this is an
amended hiing

12/15

 

in each category, separately list and describe items. List an asset only once. if an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possibie. if two married people are filing together, both are equally
responsible for supplying correct information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages,

write your name and case number (if known). Answer every question.

m Describe Each Residence, Building, Land, or 0ther Real Estate You Own or Have an |nterest in

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

l:.i No. Go to Part 2.

@ Yes. Where is the property? ,

What is the property? Check all that apply.
ij Single-family home

3033 Santa Mana Ave L_.l Duplex or mulli-unil building

Street address, if available, or other description

1.1.

 

m Condominium or cooperative
i;l Manufactured or mobile home

 

 

 

 

m Land
E] l t
clermont FL 34715 n "_Ves mem P'°Pe“¥
city stale zlP code T"“esha'e
Ci Olner
Who has an interest in the property? Check one.
\_ake ij Debt0r1 only
Courity [;i Debtor 2 only

n Debt0r1 and Debtor 2 only
ij At least one of the debtors and another

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D;
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ 265,000.00 $ 265,000.00

 

Describe the nature of your ownership
interest (such as fee simp|e, tenancy by
the entireties, or a life estate), if known.

fee simple

 

ij Check if this is community property
(see insiructions)

Other information you wish to add about this item, such as local

property identification number:

 

if you own or have more than one, list here:
What is the property? Check all that apply.

C] Sing|e-famlly home
1.2.

 

Street address if available, or other description m Dup!ex or mum~unit building
l;l Condominium or cooperative
n Manufaciured or mobile home
Ci Land

El investment property

m Timeshare

a ther

Who has an interest in the property? Check one.
[;l Debtor1 only

m Debtor 2 only -

[] Debtor 1 and Debioi 2 only

i:l At least one of the debtors and another

 

 

City State ZlP Code

 

 

County

Do not deduct secured claims or exemptions Put
the amount cf any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ $

Describe the nature of your ownership
interest (such as fee simpie, tenancy by
the entireties, or a life estate), if known.

 

m Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

Official Form 106A/B Schedule AlB: Property

page 1

 

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Bonnie K Kurowski-Alicea

 

Debtor 1

First Name Middle Name

1.3.

Lasl Name

 

Street address if available, or other description

 

 

City State ZlP Code

 

County

2, Add the dollar value of the portion you own for all of your entries from Part1, including any entries for pages
you have attached for Part1.Write that number here. ...................................................................................... ')

M Describe Your Vehicles

What is the property? Check all that app|y.
L:i Single-family home

Cl ouplex or mulii-unii building

[] Condominium or cooperative

[] Manufactured or mobile home

l:l Land

m investment property

a Timeshare

[] other

 

Who has an interest in the property? Check one.

m Debtor1 only

|;] Debtor 2 only

E] Debtor1 and Debior 2 only

m At least one of the debtors and another

Case number (iflinowni

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ $
Describe the nature of your ownership

interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

m Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

 

$ 265,000.00

 

 

 

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles
you own that someone else drives lf you lease a vehicle, also report lion Schedule G: Executory Confracts and Unexpired Leases,

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

n No
M Yes
3.1_ Make: Jeep
Mode,; Cherokee
Year; 2018
13000

Approximate mileage:

Other information:

if you own or have more than one, describe here:

3_2` Make: Chevy
ll/lodel: Cam@ro
Year: 201 5

65000

Approximate mileage:
Other information:

l l

Official Form 106A/B

Who has an interest in the property? Check one.
n Debtor 1 only

Ei Debior 2 only

m Debtor1 and Debtor 2 only

n At least one of the debtors and another

n Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
n Debtor1 only

m Debfor 2 only

Ci Debtor1 and Debtor 2 only

i;l At least one of the debtors and another

Cl Check if this is community property (see
instructions)

Schedule AIB: Property

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D;
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ 26,000.00 $ 26,000.00

 

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Properiy.

Current value of the Current value of the
entire property? portion you own?

$ 15,000.00 $ 15,000.00

 

page 2

 

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Bonnie K Kurowski-Alicea

 

Who has an interest in the property? Check one.

Debtor 1
’ Firsl Name M;ddre Name
3.3. Make; girlsl_W
Model: Cavaliei' m Debtor 1 only
Year\ 2001 El oebtor 2 only

Approximate mileage: 125000

Other information:

[, ,,, ,
3_4l Make:

Model:

Year:

Approximate mileage:

Other information:

El Debtor1 and Dootor 2 only
n At least one of the debtors and another

l;l Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

El Debtor1 only

a Debtor 2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

l;l Check if this is community property (see
instructions)

Case number (i/known)

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ 500.00 $ 500.00

 

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories

Examp/es: Boats, trailers, motors, personal watercraft, lishing vessels, snowmobiies, motorcycle accessories

[;l No
m Yes

4.1, Make: _l:_ol;e_St_E\!<_e[___
yoder wiley
Year: LIZ___

Other information:

i
l

if you own or have more than one, list here:
4_2. Make:

Model:

Year:

Other information:

l

l, ,,

 

51 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here

Ofi'lcial Form 106A/B

Who has an interest in the property? Check one.

m Debtor1 only

El Deblor 2 only

El oobtor 1 and ooblor 2 only

cl At least one of the debtors and another

Cl Check if this is community property (see
instructions) l

Who has an interest in the property? Check one.

n Debtor1 only

n Debtor 2 only

l:l Debtor1 and Doblor 2 only

l._.\ At least one of the debtors and another

L_.\ Check if this is community property (see
instructions)

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ 89,000.00 $ 89,000.00

 

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Propeity,

Current value of the Current value of the
portion you own?

entire property?

   

130,500.00

 

Schedule AlB: Property

 

page 3

 

 

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Debtor1 Bonnie K Kurowski”A“Cea Case number lrrknown)
' First Name Midl:lle Name Lasl Name

mbescribe Your Personal and Household |tems

Do you own or have any legal or equitable interest in any of the following items?

 

 

Current value of the
portion you own?
Do not deduct secured claims

 

 

or exemptions
6. Household goods and furnishings
Examples: Major appliancesl fumiture, iinens, china, kitchenware
m No
YOS- Describe --------- Kitchen appliances (standard), furniture (Bedrooms, kitchen, familyroom) $ 3,000-00
7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment computers, printers, scanners; music
collections; electronic devices including cell phones, cameras. media piayers, games
El No : 1
m Yes. Describe .......... § 3 tvS, and 2 iaptops `, $ Z,OO0.00
B. Collectibies of value
Examples: Antiques and tigurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
m No ;
n Yes. Describe .......... ` $
9. Equipment for sports and hobbies
Examples: Sports, photographic exercise, and other hobby equipment; bicycles, pool tables, golf ciubs, skis; canoes
and kayaks; carpentry toois; musical instruments
No y `
m Yes. Describe .......... ` $
10.Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment
m No t t
cl Yes. Describe .......... f l $
11.C|othes
Examples: Everyday ciothes, furs, leather coats, designer wear, shoes, accessories
n No
m Yes. Describe .......... ` Eve[yday C|Othes $ 2,000.00
12.Jewe|ry
Examples: Everydayjewe|ry, costume jewelry, engagement rings, wedding rings, heirioom jewelry, watches, gems,
gold, silver
m NO 3 000 00
EZl . o ' .......... = . . 1 -
Yes es°"be iWeddlng rings ; $ ’
13.Non-farm animals
Examp/es: Dogs, cats, birds, horses
[] No ,
m Yes. Describe ........... l
§three dogs l $
14.Any other personal and household items you did not already list, including any health aids you did not list
m No t
n Yes. Give specific `. $
information `
15. Add the dollar value of ali of your entries from Part 3, including any entries for pages you have attached $ 10 000_00
for Part 3. Write that number here ......... ')

 

 

 

 

Of&cial Form 106A/B Schedule AlB: Property page 4

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Debtor1 Bonnie K Kurowski'A“Cea Case number (irknowni
/ F`lrsl Name Middie Name Lasl Name
m Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following? Current Value 0\° the
portion you own?
Do not deduct secured claims
or exemptions
16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
m No
m Yes ~~~~~~ Cash: ....................... $ 150-00
17. Deposits of money
Examples: Checking, savings or other financial accounts; certihcates of deposit; shares in credit unionsl brokerage houses,
and other similar institutions if you have multiple accounts with the same institution, list each.
m No
n Yes ..................... institution name:
17.1. Checking account: Cha$e $ 150.00
17.2. Checking account $
17.3. Savings account: $
17.4. Savings account $
17.5. Certificates of deposit $
17.6. Other hnancial account 3
17.7. Other financial account $
17.8. Other financial account: $
17.9. Other financial account: $
18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage Hrms, money market accounts
[] No
m Yes ................. institution or issuer name:
Etrade $ 1,200.00

 

 

 

19. Non-publiciy traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture

 

 

m No Name of entity: % of ownership‘.
l:l Yes. Give specific O% %
information about o
them ......................... ' 0 /° %
0% %

 

thcial Form 106A/B Schedule AlB: Property page 5

 

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Debtor1 Bonnie K Kurowski'A“Cea Case number (irknown)

 

 

First Name Middie Name Lasl Name

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders
Non~negofi'able instruments are those you cannot transfer to someone by signing or delivering them.

mNo

l;l Yes. Give specific issuer namei
information about
them ....................... $

 

 

 

21. Retirement or pension accounts
Examples: interests in iRA, ER|SA, Keogh, 401 (k), 403(b), thrift savings accounts or other pension or profit-sharing plans

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

m No
C\ Yes. List each
account separately Type of account: institution name:
4010<) or similar plan; $
Pension pian: $
lRA; $
. Retirement acoount; $
Keogh; $
Additional account $
Additionai account: $
22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with |andlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others
m No
n Yes .......................... institution name or individuai:
Electric; $
Gas; $
Heating oii: $
Security deposit on rental unlt; $
Prepaid rent; $
Teiephone: $
Water; $
Rented furniture; $
Other: $
23.Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
m No
m Yes .......................... issuer name and description:
$
$

 

 

Ofncial Form 106A/B Schedule AlB: Property page 6

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newton Bonnie K Kurowski-Aiicea

First Name Middle Name Lasl Name

Case number (iriinown)

 

 

24.lnterests in an education lRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
m No
n Yes ....................................

institution name and description. Separateiy file the records of any interests.11 U.S.C. § 521(c):

 

 

 

25.Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

mNo

Cl Yes. Give specific .i
information about them....§ $

26. Patents, copyrights trademarks, trade secrets, and other intellectual property
Examples: internet domain namesl websites, proceeds from royalties and licensing agreements

DNo

m Yes- Gi"_e SPeCl"C Own one trademark but it is not making any money.
information about them....§

27. Licenses, franchises, and other general intangibles .
Examples: Building permits exclusive licenses cooperative association holdings liquor licenses professional licenses

mNo

a Yes. Give specific .l .'
information about them..r.§ $

Money or property owed to you? Current value of the

portion you own?
Do not deduct secured
claims or exemptions

28.Tax refunds owed to you
m No

n Yes. Give specific information § l Federa§.
about them, including whether l l '
you already filed the returns § ‘ State;

and the tax years. ....................... "‘ `;
§ § LOCa\.'

29. Famiiy support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

mNo

m ¥es. Give specific information .............. i

§ § Alimony; $
§ Maintenance: $
§ Support; $
l Divorce settlement $
` § Property settlement $
30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance paymentsl disability benefits, sick pay, vacation pay, workers' compensation,
Social Security benefits; unpaid loans you made to someone else
m No
El Yes. Give specific information ............... l ; $

Official Form 106A/B Schedule AIB: Property page 7

 

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gmme Bonnie K Kurowski-A|icea

Case number (irknown)
First Name Middie Name Lasl Name

 

 

31. interests in insurance policies
Examples: Heaith, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

mNo

El Yes. Name the insurance company

Company name: Beneficiary: Surrender or refund vaiue;
of each policy and list its vaiue.

 

 

 

32. Any interest in property that is due you from someone who has died

if you are the beneHciary of a living trust, expect proceeds from a life insurance poiicy, or are currently entitled to receive
property because someone has died.

mNo

ij Yes. Give specific information ..............

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance ciaims, or rights to sue

mNo

[;] Yes. Describe each claim, ....................

34.0ther contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

mNo

[;l Yes. Describe each claim. ....................

35.Any financial assets you did not already list

mNo

[:.\ Yes. Give specific information ............ §

 

36. Add the dollar value of ali of your entries from Part 4, including any entries for pages you have attached 1 350 00
for Part 4. Write that number here ') $_’__‘_~.1

 

 

 

mescribe Any Business-Related property You 0wn or Have an |nterest |n. List any real estate in Part 1.

 

37.Do you own or have any legal or equitable interest in any business-related property?
Cl No. Go to Part 6.
m Yes. Go to line 38.
Current value of the

portion you own?

Do not deduct secured claims
or exemptions

38.Accounts receivable or commissions you already earned
m No
i

[;l Yes. Describe ....... ` §$

 

39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiersl tax machines rugs, telephones desks, chairs, electronic devices
C\ No
m Yes. Describe ....... l _ l 1 ZO0.00
12 laptops, monitor, printer, telephone ;$ '

official Form iooA/B schedule A/B: Property base 8

 

 

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Deblo,i Bonnie K Kurowski-Alicea

Case number (ir/mown)
First Name Mir:ldle Name Lasl Name

 

 

40.Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

w No
cl Yes. Describe.......§

 

 

 

 

 

 

 

 

 

 

 

41.|nventory
n No § _ _
m Yes. Describe ....... § l$
42. interests in partnerships orjoint ventures
M No
n YeS. Describe ....... Name Of entity: °/q Of OWTlel'ShlpZ
% $
% $
% $
43.Customer lists, mailing lists, or other compilations
m No
[.._.l Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
ij No
El Yes. Describe ........ l
§ l $
44.Any business-related property you did not already list
a No
l;l Yes. Give specific $
information .........
$
$
$
$
$
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $ 1 l2()()_()()
for Part 5. Write that number here 9

 

 

 

Describe Any Farm~ and Commercial Fishing-Related Property You Own or Have an |nterest ln.
lf you own or have an interest in farmiand, list it in Part 1.

 

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
a No. Go to Part 7.
n Yes Go to line 47.

Current value of the
portion you own?

Do not deduct secured claims
or exemptions
47. Farm animals

Examples: Livestock, poultry, farm~raised fish

n No
C\ Yesl

Official Form 106A/B Schedule AlB: Property Page 9

 

 

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Debtor1 Bonnie K Kurowski-Alicea

Case number ii/knowni
First Name Middle Name Lasl Name

 

 

48. Crops--either growing or harvested

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

§ C\ No §
a Yes. Give speciHc ;
information ............. $
49.Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
[.;l No
Cl Yes .......................... ’ l
` ` $
50. Farm and fishing supplies, chemicals, and feed
L:l No
[] Yes ....................... `
l $
51.Any farm- and commercial fishing-related property you did not already list
n No
l;l Yes. Give specihc §
information ............ § § $
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $
for Part 6. Write that number here . ')
Describe All Property You own or Have an lnterest in That You Did Not List Above
53. Do you have other property of any kind you did not already list?
Examples: Season ticketsl country club membership
l:l Yes. Give specific i 1
information ............. § §
54.Add the dollar value of all of your entries from Part 7. Write that number here ') $
must the Totals of Each Fart of this Form
55.Part 1: Total real estate, line 2. '9 $_Z_G§LQM
56. Part 2: Total vehicles, line 5 $ 130’500`00
57.Part 3: Total personal and household items, line 15 $ 10’000`00
58. Part 4: Total financial assets, line 36 $ 1’350`00
59. Part 52 Total business-related property, line 45 $ 1’200'00
60.Part 6: Total farm- and fishing-related property, line 52 $ 0'00
61 . Part 7: Total other property not listed, line 54 + $ O-OO
62.Tctal personal property. Add lines 56 through 61. .................... § $ 143'050‘00 §Copy personal property total ") + $ 143,050-00
63.Total of all property on Schedule AlB. Add line 55 + line 62 .......................................................................................... $M

 

 

 

thciai Form 106AlB Schedule AlB: Property page 10

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Fill in this information to identify your case:

Debm,i Bonnie K Kurowski=Alicea

Hrsl Name Middle Name Lnst Name

Dehim 2 Thomas A Alicea

 

(Spouse, if filing) First Name Middle Name Lasl Name

United States Bankruptcy Court for the: District Of

 

 

case number Cl Check if this is an
("""°W“) amended Hling

 

Official Form 1060
Schedule C: The Property You Claim as Exempt 04/16

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct information
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. |f more

space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary On the top of any additional pages, write
your name and case number (if known).

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory |imit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds_may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

m ldentify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you,

i;l You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
M You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption

 

 

 

 

Schedule A/B that lists this property portion you own

Copy the value from Check only one box for each exemption.

Schedule A/B
§;'§;,ipiion; ResidentM $ 265,000.00 g $ Homested Exempiion.
Line from m 100% of fair market value, up to '
Schedule A/B: any applicable statutory limit
Brief . v _ '
description: w $100.00 l;| $ `Vehicle exemption
Line from l;l 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief . _ .
descriptions M___“ $ 100.00 ill $ Vehic|e exemption
Line from Cl 100% of fair market value, up to
Schedule A/B: any applicable statutory limit

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustmenf.)
Ei No
w Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
M No
n Yes

’ l
Official Form 1060 Schedule C: The Property You Claim as Exempt page 1 of ”l`"

 

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Debtor1 Bonnie K Kurowski=Alicea Case number WMW"L_J_;_#___#___
Firsl Name Middle Name Last Name
ml\dditional Page
Brief description of the property and line Current value of the Amount of the exemption you claim Specific laws that allow exemption
on Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption a
schedule A/B §
Brief .
description: $ n $ l
Line from n 100% of fair market value, up to §
Schedule A/B,~ any applicable statutory limit ______________________ §
l
` l
Brief
description: $ n $ l
Line from n 100% of fair market value, up to l
Schedule A/B: __- any applicable statutory limit _______________________ §
` l
Brief
description: $ E\ $ §
Line from n 100% of fair market value, up to §
Schedule A/B: _'_“_ any applicable statutory limit _____________________ §
l
Brief l
description: $ n $ i
Line from n 100% of fair market value, up to §
Schedule A/B: any applicable statutory limit ____________________ §
i
Brief §
description: $ n $ §
Line from n 100% of fair market value, up to §
. n l'cabl st t t l`m`t ”____________._.__
Schedule A/B. a y app i e a u ory i i §
Brief
description: $ n $
Line ier El 100% of fair market value, up to
Schedule A/B: *'_'_ any applicable statutory limit __________________________
Brief
description: $ n $
Line from l;l 100% of fair market value, up to
Schedule A/B: any applicable statutory limit ______________________
Brief
description: $ m $
Line from m 100% of fair market value, up to
Schedule A/B: _____ any applicable statutory limit ___________________
Brief
description: $ l:l $
Line from ` i:l 100% of fair market value, up to
Schedule A/B: _'__ any applicable statutory limit _____________
Brief
description: $ 13 $
Line from i;\ 100% of fair market value, up to
Schedule A/B: __'_ any applicable statutory limit ___________________
Brief
description: $ L-l $
Line from n 100% of fair market value, up to
Schedule A/B.~ -__ any applicable statutory limit __________________
Brief
description: $ m $
Line from Cl 100% of fair market value, up to
Schedule A/B_- __“_ any applicable statutory limit

 

Oflicial Form 1060 Schedule C: The Property Vou Claim as Exempt page Z__ ofal/

Case 6:18-bk-05944-00.] Doc 1 Filed 09/27/18 Page 23 of 61

Fill in this information to identify your case:

Debtor 1

Bonnie K Kurowski-Alicea

 

First Name

garner 2 Thomas A Alicea

Middle Name

least Name

 

(Spouse, if liling) FlrslName
United States Bankruptcy Court for the:

Case number

Middle Name

 

Lasl Name

District of

 

(lf knownl

El cheek irihis is on

 

Official Form 106D

 

Schedule D: Creditors Who Have Claims Secured by Property

amended filing

12I'lS

 

Be as complete and accurate as possible lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
l;i No. Check this box and submit this form to the court with your other schedules You have nothing else to report on this fon'n.

l!l Yes. Fill in ali of the information below.

m List All secured claims

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Column A Column B Column 0
2. List all secured claims. lf a creditor has more than one secured claim, list the creditor separately Amount of claim Value of collalol.al unsecured
for each claim. |f more than one creditor has a particular claim, list the other creditors in Part 2. Do nol deduct the lhat supports this portion
As much as possible, list the claims in alphabetical order according to the creditor's name. value ofoollalelal_ claim ll any
Chl'ys|el~ Finallcia| Describe the property that secures the claim: $ 261000‘00 $ 26’000~00 $
Creditor's Name
PO Box 660335
Number Street
As of the date you file, the claim is: Check all that apply.
n Contingent
DaliaS TX 75266 Cl unliquidated
city state ziP code l;l Dlspuled
Who owes the debt? Check OneA Nature of lien. check all that appiy.
n Dethr 1 Oniy ig An agreement you made (such as mortgage or secured
E\ Debtor 2 only car loan)
g Deblorl and Doblor 2 only U Statutory lien (such as tax lien, mechanic's lien)
l:l At least one of the debtors and another n Judgment lien from 3 lawsuit
Cl other (inoiuding a right to oneoi)
m Check if this claim relates to a
community debt
Date debt was incurred 01/08/0201 Last 4 digits of account number l _9_ __‘L ___7_ _ _
gi Navy Federa| Desoriho the property that seizures the oiaim: $ 15,000-00 $ 15»000-09 $
Creditor`s Name
p0 BOX 3000 2015 Chevy Camero
Number Street §
As of the date you file, the claim is: Check all that app|y.
ij Contingent
Mel`l`lvlll€* VA 221 19 l:| Un|iquidaiéd
city slate ziP code n Dlspuled
Who owes the debf? Check ON€- Nature of lien. Check all that apply.
n Debtor1 On|y m An agreement you made (such as mortgage or secured
U Debtorz only ear loan)
n Doblorl and Doblor 2 only El Statutory lien (such as tax |ien, mechanic's lien)
i;l At least one of the debtors and another n Judgmenf lien from a lawsuit
Cl other (inoluding a right to offset)
El cheek ir this claim relates to a
community debt
Date debt was incurred 02/01/0201 Last 4 digits of account number _9 _Q ___9_ __4
Add the dollar value of your entries in Column A on this page. Write that number here: EM §
Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of&

 

Case 6:18-bl<-05944-CC.] Doc 1 Filed 09/27/18 Page 24 of 61

Deblm Bonnie K Kurowski-A|icea

 

First Name Middie Name

Last Name

 

 

 

 

 

 

 

 

 

 

 

 

 

Case number lirkr»otwi)

 

 

Additional Page Column A Column B Column C
. . . . . . . Amount of claim Value of collateral unsecured
After listing any entries on this page, number them beginning with 2.3, followed Do not deduct the mal Supporls this portlon
by 2'4’ and S° f°nh‘ value of collateral. lt any
Mr- Cooper Describe the property that secures the claim: $ 2651000-00 $ 2651000-00 $
Creditor's Name
PO BOX 60516 Reeidential Home 3033 santa Maria Ave
Number Street
As of the date you file, the claim is: Check all that apply.
City Of lndUSfl'y CA 91716 m Contingent
city slate zlP code l`_`l Un|iquidated
l;l Disputed
Who owes the debt? Check One- Nature of lien. Check all that app|y.
m Debl°rl O"lY m An agreement you made (such as mortgage or secured
E\ Debtor 2 only car loan)
l;\ Debloll and Doblol 2 0,-lly l;l Statutory lien (such as tax lien, mechanic's lien)
[:] At least one of the debtors and another n \ludgmenl lien from 3 lawsuil
n Other (including a right to offset)
ll] check if this claim relates to a
community debt
Date debt was incurred 07/01/0201 Last 4 digits of account number _l ___7_ _7_ __9_
m M&T Bank Describe the property that secures the claim: $ 89’000'00 $ 89'000'00 $
Creditor's Name ,
Number Street Sunseeker RV /)“
PO BOX 64679 As of the date you file, the claim is: Check all that apply.
v g Contingent
Baltlmore M 21264 a Unliquldaled
City State Z|P Code n Disputed
Who owes the debt? Check °ne’ Nature of lien. Check all that apply.
g Debtor 1 Oniy g An agreement you made (such as mortgage or secured
m Debtor 2 only Cal- loan)
la Debl°i l and Debl°i 2 °"'ly m Statutory lien (such as tax lien, mechanlo's lien)
q At least one of the debtors and another C] Judgment lien from a lawsuit
El cheek it this claim relates to a n Other l‘“°'“d'“g a "g'“ t° °"Set)
community debt
Date debt was incurred 05/31/0201 Last 4 digits of account number g g _0 _0_
E Describe the property that secures the claim: $ $

 

Creditor’s Name

 

 

Number Street

 

 

 

 

 

City State ZlP Code

Who owes the debt? Check one.

Debtor1 only

Debtor 2 only

Debtor1 and Debtor 2 only

At least one of the debtors and another

U UUUU

Check if this claim relates to a
community debt

Date debt was incurred

Add the dollar value of your entries in Column A on this page. Write that number here: $ 349,000.00

lf this is the last page of your form, add the dollar value totals from all pages.

Write that number here:

Official Form 106D

As of the date you file, the claim is: Check all that apply.

l;l Contingent

C] unliquidated

l:l Disputed

Nature of lien. Check all that apply.

l:l An agreement you made (such as mortgage or secured
car loan)

m Statutory lien (such as tax lien, mechanic’s lien)

l;] Judgment lien from a lawsuit

El other (ineluding a right to ofteet)

Last 4 digits of account number M

 

 

 

Additional Page of Schedule D: Creditors Who Have Claims Secured by Property

 

390,000.00

page 3_“0f §

 

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oeblo,l Bonnie K Kurowski-Alicea

First Name Middle Name Last Name ,

m List others to ne Notitied for a neht That You Alreaay Listed

Case number tirknawni

 

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part1. For example, if a collection
agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Slmllarly, if
you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. |f you do not have additional persons to
be notified for any debts in Part 1, do not fill out or submit this page.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

|:l l On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number _ _ _
Number Street
City State ZlP Code

|::| On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number _ _ _ _
Number Street
City State ZlP Code

|j On which line in Part1 did you enter the creditor?
Name Last 4 digits of account number _ _ _
Number Street
City State ZlP Code

l:l On which line in Part1 did you/enter the creditor?
Name Last 4 digits of account number M
Number Street
City State ZlP Code

l::l On which line in Fart1 did you enter the creditor?
Name Last 4 digits of account number _ _ _
Number Street
City State ZlP Code

l::l On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number _ _ __ _
Number Street
City State ZlP Code

Ofucial Form 1060 Part 2 of Schedule D: Creditors Who Have Claims Secured by Property n page?)_ é_

 

Debtor 1

Debtor 2
(Spouse, it filing) First Name

United States Bankruptcy Court for the:

Case 6:18-bl<-05944-CC.] Doc 1

Fill ig this information to identify your case:

Bonnie K Kurowski-ALicea

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First Name

Thomas A Alicea

Middle Name

Last Name

 

Middle Name

Case number

Last Name

District of

Cl cheek ii this is an

 

(lf known)

 

amended filing

 

Official Form 106E/F

 

Schedule ElF: Creditors Who Have Unsecured Claims

12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRlORlT¥ claims and Part 2 for creditors with NONPR|ORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Otficial Form 106AIB) and on Schedule G: Executory Contracts and Unexpired Leases (Otficial Form 1066). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. lf more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

m List All of ¥our PR|CR|TY Unsecured Claims

1.

 

Do any creditors have priority unsecured claims against you?

n No. Go to Part 2.

M Yes.

List all of your priority unsecured claims. |f a creditor has more than one priority unsecured claiml list the creditor separately for each claim. For
each claim listed, identify what type of claim it is. |f a claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts As much as possible, list the claims in alphabetical order according to the creditors name. lf you have more than two priority
unsecured claims, till out the Continuation Page of Part 1. |f more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

 

 

 

 

 

 

 

2.
2.1 lRS
Priorlty Creditor's Name
PO Box 931000
Number Street
Louisville KY 40293
City State ZlP Code

l§l

Ochlal Form 106E/F

Who incurred the debt? Check one.

n Debtor1 only

n Debtor 2 only

m Debtor 1 and Debtor 2 only

l;l At least one of the debtors and another

l;l Check if this claim is for a community debt
ls the claim subject to offset?

No
m Yes

 

Priority Creditor’s Name

 

Number Street

 

 

City State ZlP Code

Who incurred the debt? Check one.

n Debtor1 only

cl Debtor 2 only

n Debtor 1 and Debtor 2 only

m At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?
n No
U Yes

Schedule ElF: Creditors Who Have Unsecured Claims

 

Total claim Priority Nonpriority
amount amount
Last4 digits or account number _0_ v_§_ l l $_‘lZ.QQ§LQQ $ 12 0 l$
When was the debt incurred? M5
As of the date you tile, the claim is: Check all that apply,
[] Contingent
El unliquidated
n Disputed
Type of PR|OR|TY unsecured claim:
El Domestic support obligations
m Taxes and certain other debts ou owe the government
y

m Claims for death or personal injury while you were

intoxicated
n Other. Specify
Last 4 digits of account number _ _ _ _ $ $ $

 

When was the debt incurred?

As of the date you tile, the claim is: Check all that apply
a Contingent

El unliquidated

El Disputed

Type of PRlORlTY unsecured claim:
Domestic support obligations
Taxes and certain other debts you owe the government

Claims for death or personal injury while you were
intoxicated

Other. Specify

U Ell:|lj

 

page 1 of _

 

Case 6:18-bl<-05944-CC.] Doc 1 Filed 09/27/18 Page 27 of 61

j Debtor1 Bonnie K Kurowski-ALicea

Case number (irknnwn)

 

Flrst Name Middle Name
l‘

Last Name

Your PRloRlTY unsecured claims - continuation Page

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.

§

 

Priorily Creditor's Name

 

Number Street

 

 

City State ZlP Code

Who incurred the debt? Check one.

Cl Debtor1 only

n Debtor 2 only

n Debtor1 and Debtor 2 only

m At least one of the debtors and another

[;l Check if this claim is for a community debt

ls the claim subject to offset?

n No
m Yes

 

Priority Creditor’s Name

 

Number Street

 

 

City Stale ZiP Code

Who incurred the debt? Check one.

m Debtor 1 only

m Debtor 2 only

m Debtor 1 and Debtor 2 only

i:] At least one of the debtors and another

l;] Check if this claim is for a community debt

ls the claim subject to offset?

cl No
m Yes

 

Priorily Creditor's Name

 

Number Street

 

 

City State ZlP Code

Who incurred the debt? Check one.

m Debtor1 only

m Debtor 2 only

i;\ Debtor1 and Debtor 2 only

m At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to otfset?

m No
n Yes

Official Form 106E/F

Total claim Priority

amount

Last 4 digits of account number _ _ $ 5
When was the debt incurred?

As of the date you file, the claim is: Check all that app|y.

n Contingent
n Unllquidaled
m Disputed

Type of PR|OR|TY unsecured claim:

Domestic support obligations
Taxes and certain other debts you owe the government

Claims for death or personal injury while you were
intoxicated

Other. Specify

Cl EJDU

 

Last 4 digits of account number __ _ $ $
When was the debt incurred?

As of the date you tile, the claim is: Check all that apply.

m Contingent
C] unliquidated
El Disputed

Type of PRlORlTY unsecured claim:

Domestic support obligations
Taxes and certain other debts you owe the government

Claims for death or personal injury while you were
intoxicated

Other. Specify

I:l DUU

 

Last 4 digits of account number _ _ $ $
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

n Contingent
El unliquidaied
n Disputed

Type of PR|OR|TY unsecured claim:

Domestic support obligations
Taxes and certain other debts you owe the government

Claims for death or personal injury while you were
intoxicated

Other. Specify

|:l UIJU

 

Schedule E/F: Creditors Who Have Unsecured Claims

Nonpriority
amount

page __ of ____

 

Case 6:18-bl<-05944-CC.] Doc 1 Filed 09/27/18 Page 28 of 61

, Debtor1 Bonnie K Kurowski-Al_icea

 

1 First Name Middle Name Last Name

m List All of Your NONPR|OR|TY Unsecured Claims

Case number (ir known)

 

3. Do any creditors have nonpriority unsecured claims against you?

13 No. You have nothing to report in this part. Submit this form to the court with your other schedules

Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. lt a creditor has more than one
nonpriority unsecured claim list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included' in Part 1 |f more than one creditor holds a particular claim, list the other creditors' in Part 3. |f you have more than three nonpriority unsecured

claims till out the Continuation Page of Part 2.

|‘j:__! Ed Financial

 

Nonpriority Creditor’s Name

 

 

PO Box 36008

Number Street

Knoxville TN 37930
City State ZlP Code

Who incurred the debt? Check one.

m Debtor 1 only

n Debtor 2 only

El Debtor 1 and Debtor 2 only

13 At least one of the debtors and another

m Check if this claim is for a community debt

ls the claim subject to offset?
[;] No
ij Yes

Navient

 

Nonpriority Creditor's Name

 

 

PO Box 9500

Number Street

Wilkes~Barre PA 18733
city slate zlP code

Who incurred the debt? Check one.

m Debtor1 only

m Debtor2 only

m Debtor1 and Debtor 2 only

l:.\ At least one of the debtors and another

0 Check if this claim is for a community debt

ls the claim subject to offset?

 

 

 

m No

n Yes

Nonpriority Creditor's Name

Number Street

City ` State ZlP Code

Who incurred the debt? Check one,

m Debtor1 only

l;] Debtor 2 only

ill Debtor1 and Debtor 2 only

Cl At least one of the debtors and another

El check if this claim is for a community debt

ls the claim subject to offset?
cl No
ij Yes

Official Form 106E/F

 

 

Total claim
~ - 6 1 7 0
Last 4 digits of account number _ _ _ _ $ 231 1222_00
When was the debt incurred?
As of the date you file, the claim is: Check all that apply.
i:l Contingent
Cl unliquidated
n Disputed
Type of NONPR|OR|TY unsecured claim:
d Student loans
n Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
m Debts to pension or profit-sharing plansl and other similar debts
m Other. Specify
Last 4 digits of account number _9 __§ __§_5 _2_ $_1_4§’_§§3_£0_
When was the debt incurred?12/O12/ 015
As of the date you file, the claim is: Check all that apply.
m Contingent
ill unliquidated
n Disputed
Type of NONPRlORlTY unsecured claim:
d Student loans
n Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
0 Debts to pension or profit-sharing plans, and other similar debts
lI] other. specify
Last 4 digits of account number _ _ _ $

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

Cl Contingent
Cl unliquidated
0 Disputed

Type of NONPR|OR|TY unsecured claim:

Student loans
Obligations arising out ot a separation agreement or divorce
that you did not report as priority claims

Debts to pension or profit-sharing plans, and other similar debts
Other. Specify

D[J D|J

 

Schedule ElF: Creditors Who Have Unsecured Claims page _ of _

 

CaSe 6218-bk-05944-CC.]

Avli€\”i`car\

 

Prmé+ R€Coi/&rt/

 

Nonpriority Creditor’s Name l (

iiith ‘y;!”.e 13 milo Kd 513 355
Fenv\S/l‘tim/l H;ll§ Wil L/Wz 1
any ./ State ZtP Code

 

Who incurred the debt? Check one.

ia¢l;ebtort only

n Debtor 2 only

13 Debtor1 and Debtor 2 only

m At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

21 No
n Yes

l/Ll/V\@fi(;€wl W@/LD iO@LA
Nonpriority Creditor’s Name

a;iwln§'% ‘\\S\£er+ln \Ll`m eti iii tear leo
i>e janet

\
Write t ita
city J stale zlP code
Who incurred the debt? Check one.
[] Debtor 1 only
B/Debtor 2 only
n Debtor 1 and Debtor 2 only
n At least one of the debtors and another
[] Check it this claim is for a community debt

ls the claim subject to offset?

/E’Kld

m Yes

l

/'1 Q\W\ [;)t;i cL1’l'Dl/l §
Nonpriority Creditor's Name

lQQEt W i pier il;yy gthl/\ Q¢`riglg,;ld §§ § t€, il&~
Number Street
\/\ii`r\'i€€ (lm*r\a /\
City "'

Whoi curred the debt? Check one.
dadth 1 only
Ll Debtnrz only
n Debtor 1 and Debtor 2 only
cl At least one of the debtors and another
i;\ Check if this claim is for a community debt

is the claim subject to offset?

,Em»
m Yes

Ofl`lcial Form 106ElF

Schedule ElF: Creditors Who Have Unsecured Claims

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Last 4 digits of account number _"’_1_ __é§'__ § __.z_

sl§lcz§>_

when was the debt incurred?

As of the date you file, the claim is: Check all that apply.

n Contingent
i:l Unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

m Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

m Debts to pension or profit-sharing plans, and other similar debts
other. Specify

/ o
Last4 digits ofacccunt number _73_ _5_ é>_ __?_ $ t (p O_=Oo

When was the debt incurred?

As of the date you tile, the claim is: Check all that apply.

0 Contingent
El unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

a Student loans

n Obligations arising out of a separation agreement or divorce that
you did riot report as priority claims

i:l Debts to pension or profit-sharing plans. and other similar debts

B/Other. Speclfy

a 5 `
Last 4 digits of account number j 3__ /__')___ 13
When was the debt incurred?

As of the date you file, the claim is: Check ali that apply.

m Contingent
ill unliquidated
E| Disputed

Type of NONPR|OR|T¥ unsecured claim:

cl Student loans

m Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

m Deth to pension or profit-sharing plans, and other similar debts
Cttier. Specifv

page __ of _

 

Case 6:18-bl<-05944-CC.] Doc 1 Filed 09/27/18 Page 30 of 61

{;_/Q:l %@r?b guy Last4 digits ofaccount number _:2_ _(_l ___ _C_;’_ $ ‘!O/SO, 00

 

 

 

Nonpriority Creditofs Name
1 When was the debt incuned?

130 %c»~/< 7 §§Oo(i ~

fri§mbe' Slmet As of the date ou file the claim is~ Check ali that a ply
below ms %BO¢./»'.g~ " ’ ' " ‘
City State ZlP Code l;] Contingent
Cl unliquidale
Who incurred the debt? Check one. n Disputed
Debtor1 only
Cl Debtorz only Type of NONPR|OR|TY unsecured claim:

n Debtor 1 and Debtor 2 only

n Student loans
l;l At least one of the debtors and another

L:l Obligations arising out of a separation agreement or divorce that

 

m Check if this claim is for a community debt you d'd not raped as monty d.alms . .
[] Deth to pensron or prot'lt-shanng plans. and other slmllar debts
ls the claim subject to arisen wm specify
No
n Yes

- `/\§ Q/$b g u Y Last4 digits of account number __Z 3 2 __C;_) $_l_?_q]'_@§‘

 

 

 

Nonpriority Creditor`s Name
When was the debt incurred?
? 0 6 ol< 7 ‘60 001
Number Street As uh dte fig th |' '~Ch k lllht iv
?\no€'\;.)§ A; %50(0;3_` o e a you e, ecarmls. ec a aappy.
city stale zlP code D contingent
_ n Unliquldaled
Who lncurred the debt? Check onc. ij D;sputed
El Debtor1 only
Debtor 2 only Type of NONPR|OR|TY unsecured claim:

' n Debtor 1 and Debtor 2 only

n Student loans
n At least one of the debtors and another

n Obligations arising out of a separation agreement or divorce that

 

U Check if this claim is for a community debt you did not report as priority claims
0 Debts to pension or pruitt-sharing plans. and other similar debts
ls the claim subject to arisen /Ei/o`rller. specify
121/un
cl Yes

 

§%€),"i(\‘ ( D V\ es Last4 digits of account number@__ § Q. 2 $M 00

n orlty Creditor(s Name

 

 

 

When was the debt incurred?
`PO @0»< muef>‘? .
Number Street As of the date you file the claim is' Check all that apply
City t>L `l.rdu<;~frl/ Q./i» C.`H'I/C¢J ' '
City ’ State ZlP Code n Contingent
a Unliquidated
Who incurred the debt? Check one. cl Disputed
cl tor1 only
Debtor 2 only Type of NONPR|OR|TY unsecured claim:

m Debtor1 and Debtor 2 only

n Student loans
n At least one of the debtors and another

n Obligations arising out of a separation agreement or divorce that

[] Check if this claim is for a community debt Y°u did not report as priority claims
m Debts to pension or profit-sharing plans, and other similar debts

/i:s?e claim subject to offset? moran specify
No

n Yes

Ofiicial Form 106ElF Schedule ElF: Creditors Who Have Unsecured Claims page ___of

 

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M @dpzidl one
Nonprionly Creditor’s Name
fin /Z>vi< lpO‘:`>¢`r‘i

ber Street

Ci+v et indith C/t 01 l `7(¢

City State ZlP Code

Who incurred the debt? Check one.

n ebtor 1 only
Debtor 2 only
n Debtor1 and Debtor 2 only
n At least one of the debtors and another

n Check if this claim is for a community debt

s th laim subject to offset?
,o/NT

n Yes

EE aerle Ono
Nonpriority Credilnr’s Name
?O B'B)< (90§79

Number Street

gtyit\'/ O\C iii~du§+r\,/ Ci4 ®l/NCP

State ZlP code
/\gi>ineurred the debt? Check one.
Debtor1 oan
El Debtor 2 only

n Debtor1 and Debtor 2 only
cl At least one of the debtors and another

Cl check if this claim is ror a community debt
ls the claim subject to oifset?

md
m Ves

C()IP£~\¢\( ©V\Q»

Nonpridlity Creditors Name

90 BL>< fool-399

Number Street

C+Y or :wddsm C¢t

City State

9 ( 71 tv
er code
Who incurred the debt? Check one.

Debtor1 only
n Debtor 2 only
n Debtor l and Debtor 2 only
m At least one of the debtors and another

[:l Check if this claim is for a community debt
is the claim subject to offset?

.o£

n Yes

Official Form 106ElF

Lastd digits or account number j_§_ § _(__ L..€i s §%§§.©

When was the debt incurred?

As of the date you tiie, the claim is: Check all that apply.

n Contingent
C] unliquidated
U Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

ij Debts to pension or profit-sharing plans, and other similar debts

mined specify

Last 4 digits of account number _Q_ § l § 3 36 9 E[~O(:)

When was the debt incurred?

As of the date you tile. the claim is: Check all that apnlv.

n Contingent
Cl unliquidated
[] Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

cl Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

m Debts to pension or profit-sharing plans. and other similar debts

 

‘/E’€ther.$pecifv
Last4 digits of account number §§_: __§_S__ 4… $“j"__

When was the debt incurred?

 

As of the date you tile, the claim is: Check all that apply.

l:l Contingent
121 unliquidated
Cl oisputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

cl D to pension or profit-sharing plans, and other similar debts
Other. Specify

Schedule ElF: Creditors Who Have Unsecured Claims page __ of

 

 

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Cfi.o." iM O"\ Q

 

Nonprit`)i'ily Creditor’s Name

Rn cat wood

Number Street j

Qf`ie di indude (-'°‘ Cim<@
city ,J ` l slate zlP code
Who incurred the debt? Check one.

n Debtor 1 only

E\ Debtor 2 only

n Debtor 1 and Debtor 2 only

n At least one of the debtors and another

E] check if this claim is for a community debt

/;W\aim subject to offset?
No

 

 

n Yes

Cnp.‘idl One

Nonpriority Creditor's Name

P Dt i?>@l< (`Qo¢;a€i

Number Street

C`/@r\/ r)£ lndugtm/ C/~i' 617!(?
city ' / stale zlP code

 

Who incun'ed the debt? Check one.

_ Debtor1 only
m Debtor 2 only
a Debtor 1 and Debtor 2 only
n At least one of the debtors and another

Ei check ir this claim is for a community debt
ls the/claim subject to offset?

 

 

 

No
m Ves
' Cct re CFQC\ Z*Jv
Nonpriority Creditor’s Name
(t7. O. 15054 9 67 Do(o (
Number street '
®(\Q‘/\oi/g ¥:2»- §§ 39 (@
City State ZlP Code

Who incurred the debt? Check one.
n Debtor 1 only
Debtor 2 only
n Debtor 1 and Debtor 2 only
El At least one of the debtors and another

Cl Check if this claim is for a community debt

ls the claim subject to offset?

No
n Yes

Official Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

Last 4 digits of account number O_?___ §f_ _¢B_

5 :Z,§§.QQ

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

n Contingent
n Unliquidated
0 Disputed

Type of NONPR|OR|TY unsecured claim:

m Student loans

l;l Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

C] D ts to pension or profit-sharing plans, end other similar debts
‘ Olher. Specify

Last 4 digits of account number § __£__ 5 ;i?_>_

$3 2:_}‘\0()

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

n Contingent
n Unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

n Obligations arising out cia separation agreement or divorce that
you did not report as priority claims

l:.l Debts to pension or proiit-sharing plans, and other similar debts

Q/Other. Specify

 

d salt ali 5

Last 4 digits of account number l _7__ i g
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

E] Contingent
El unliquidated
Ei Disputed

Type of NONPR|OR|TY unsecured claim:

El Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

m Debts to pension or profit-sharing plans. end other similar debts
Other. Specify

page __ of ___

 

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§§ CC\‘(`@ C/ru<i i` t~

 

 

 

anpr|ority Creditor`s Name
@ \ tele 01 o doc 1
h umber Street F_
d.)" KOL Ad*r) an JSU\SQ (Q
City State ZlP Code

 

Who incurred the debt? Check one.

mebtort only

El Debtorz only
Cl Debtor1 and Debtor Zonly
m At least one of the debtors and another

El check ir this claim is for a community debt
is the claim subject to offset?

/mlo
m Yes

C\/\Cx(`j’ r\>Y`t VV\Q.,

Last 4 digits of account number __7_ 2 § l

 

Nonpriority Creditor's Name

Pn` @Ois was

Wn‘iber street

Qm¢\stt@. §§ Q<ta@>t

Clly a ZlP Code

Wh incurred the debt? Check one.
n D

ebtor1 only
L.l Debtor 2 only
n Debtor 1 and Debtor 2 only
n At least one ot the debtors and another

n Check it this claim is for a community debt

is the claim subject to offset?

No
n Yes

153 mat/ute iff flcl.n (‘/`¢i ( Trl,isl&
Nonpriority Creditor’s Name

.C>\ low dod
Street

Number

Bt»\eslctns\ S`D 57'71<@

City State ZlP Code

Who incurred the debt? Check one.

l /a/Debtor 1 only

[:.\ Debtor 2 only

a Debtor 1 and Debtor 2 only

n At least one of the debtors and another

m Check if this claim is for a community debt

is the claim subject to offset?
No

n Yes

Oliicial Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

Last 4 digits of account number § § (z_ _O_
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

n Contingent
n Un\iquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

a Student loans

0 Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n De ts to pension or profit-sharing plans. and other similar debts
Other. Specify

$_B_QL(Q._QO

when was the debt incurred?

As of the date you file, the claim is: Check all that app|y.

n Contingent
Cl unliquidated
n Disputed

Type of NQNPR|QR|TY unsecured claim:

a Student loans

a Obligations arising out ot a separation agreement or divorce that
you did not report as priority claims

[] Debts to pension or profit-sharing plans, and other similar debts

(El Other. Specify »

, . …_,,., _.,\,

4 00l 0
Last 4 digits of account number Q__ _€?__ 3 __Q $
When was the debt incurred?

As of the date you tile, the claim is: Check all that apply.

El Contingent
E] unliquidated
Ei Disputed

Type of NCNFRlORi`iY unsecured claim:

n Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

cl Deth to pension or profit-sharing plans, end other similar debts
Other. Specify

page _ of _

 

Case 6:18-bk-05944-CC.] Doc 1 Filed 09/27/18 Page 34 of 61

Name illcttti:>

Nonpriority Creditors Name
ill \t\. woman %\\/et are 400
Street

Number _
F' l/l)crv\d ‘Z';f/ C> s OD‘('/$
`C'ity stare zlP code

Wh curred the debt? Check one.
Debtor1 only

L.l Debtor 2 only
0 Debtor 1 and Debtor 2 only l
n At least one of the debtors and another

n Check if this claim ls for a community debt

ls th latm subject to offset?
/Cl/n:¢

l;\ Yes

l<€‘o/\ Q.C§

 

 

 

Nonpriority Creditor‘s Name

?? O. 6@>< tower

Number Street v [
minn/rn /-1 Sati%
City State ZlP Code

Who incurred the debt? Check one.

m Debtor1 only

El oebtdrz only

cl Debtor 1 and Debtor 2 only

El At least one of the debtors and another

Ei check rt this claim rs for a community debt

ls the claim subject to otfset?

y No
n Yes

` MGr'\/O _f'l`t‘/tfl_/
Nonprior#y Creditoi‘s Name
`”l‘§ O`O %ot\ (Pl>tl<)lo 'RA.
Number Street y f
Fl, baest

L\ O\C known \_/r| `C
city state zlP code

Who incuned the debt? Check one.

/F;abtori only

E] oebtdtz only
E| center 1 and Debtor 2 only
m At least one of the debtors and another

El Check if this claim is for a community debt

?aim subject to offset?
No

n yes

Official Form 106EIF

Last 4 digits of account number _Q__ il _Q_ 1

Schedule EIF: Creditors Who Have Unsecured Claims

Last4 digits of account number z _Q_ _z?__ AS_ $/7 012 l § q

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

n Contingent
L'.l unliquidated
ill Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

El Obligations arising out of a separation,agreement or divorce that
you did not report as priority claims

[J Debts to pension or profit-sharing plans, and other similar debts
Other. Specit'y

____ $ 507-file

Last 4 digits of account number _c:)_ 2 l 0

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply.

n Contingent
0 unliquldnted
El Disputed

Type of NONPR|OR|TY unsecured claim:

l:l Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

m ebts to pension or profit-sharing plans. and other similar debts
Other. Specify ____..____

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply.

n Contingent
E] unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

m Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Deth to pension or pmm-sharing plans, and other similar debts
Other. Specify

page __ of __

 

Case 6:18-bl<-05944-CC.] Doc 1 Filed 09/27/18 Page 35 of 61

 

 

 

 

M ljel> Be\/§

Nonpriole creditors Nanle

904 Bo,< ‘l&»ooal

Number Street

®r\er\(\@ ll Bé\%”’? lo

City State ZlP Code

who l d tva debt? check one.
Debtor1 only

cl Debtor 2 only
n Debtor1 and Debtor 2 only
n At least one of the debtors and another

l;l Check if this claim is for a community debt

?oiaim subject to offset?
No

n ¥es

ll HP\O\ISL` Otv\'”‘§ CL£S l/\
Nonpriority Creditor’s Name

l>-o. l?>w\ tlcr?>

Number Street

l,hc,l>a random '\,\ll erleea/

City slate zlP code

yaclmed the debt? Check one.
Debtor1 only

la Debtor 2 only
n Debtor 1 and Debtor 2 only
n At least one of the debtors and another

El check ir this claim is for a community debt

/lgth/eelaim subject to offset?
No

cl \'es

R\ \/@ f l,/ /l/Q

Nonprionty Creditors Name

lr>n§ eagle angle (;g.

Street

;;\yl>£l£F€onl/lll \'; NO» "{7(?’0

State ZlP Code

Who incurred the debt? Check one.
Debtor1 only

n Debtor 2 only

n Debtor1 and Debtor 2 only

U At least one of the debtors and another

El check rr this claim la ror a communlty debt

ls the claim subject to offset?

No
l:] Yes

Official Form 106E/F

Last4 digits of account number _l_ § j Q $_FQ)_S_Q 0

When was tile debt incurred?

As of the date you tite, the claim is: Check all that apply.

l:l Contingent
l:] Unllquldated
l:] Disputed

Type of NONPR|OR|TY unsecured claim:

l:l Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Deth to pension or protit-sharing plans, and other similar debts
Other. Specify

e;~l_'

Last 4 digits of account number _é'§

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply.

l:l Contingent
n Unliquidated
n Disputed

Type of NONPR|OR|TY unsecured claim:

l:l Student loans

l:l Obligations arising out of a separation agreementh divorce that
you did not report as priority claims

 

m Deb ' nsion or prolit~sharing plans, and other similar debts
Other. Speclfy 7

Q_Qj ,_$,, _ ,C,>,:©__

Last 4 digits of account number_:l_
When was the debt incurred?

As of tile date you file, the claim is: Check all that app|y.

l:l Contingent
El unliquidated
la Disputed

Type of NONPR|QR|TY unsecured claim:

n Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Deth to pension or proiit~shaling plans, and other slmilar debts
Other. Specify

Schedule ElF: Creditors Who Have Unsecured Claims page _ of ____

 

CaSe 6218-bl<-05944-CC.]

M ’RODW\¢, § G,O

 

 

 

 

Nonpriority Creditors Name

ljt o rs a '>< alcoa é'»/

Number Street '_ _ f
@r\r\i\l\@ `r L~ 5<9‘€9 la
city slate zlP mae

Who incurred the debt? Check one.

0 D for 1 only
ebtor 2 only
n Debtor1 and Debtor 2 only
l:.l At least one of the debtors and another
l:l Check if this claim is for a community debt
ls the claim subject to offset?

. No
n Yes

sane bean

\/I
~./

 

 

 

Ncmprlon'iy Cleditor's Name
‘iSlO LU' Daac)l@ 655
N her Street
let morll~ FF % 1{7/ (
City State ZlP Code

yncumed the debt? Check one.
Debtor1 only

LI Debtor 2 only

n Debtor 1 and Debtor 2 only

m At least one of the debtors and another

l:l Check if this claim is for a community debt

ls the claim subject to offset?
No
n Yes

‘ \/lzr not bow

Nonpriority Creditor’s Name

 

460 "Tll@n defe, Fr€m<t /{WQ
Sil'e°l

 

Number
fare /‘/‘/ loss 0
City ' State ZlP Code

Who ' rred the debt? Check one.
Debtor1 only

E] Debtorz only

n Debtor 1 and Debtor 2 only

l;l At least one of the debtors and another

l:l Check if this claim is for a community debt

ls the claim subject to otfset?

No
n Yes

Official Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

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Last 4 digits of account numtmr __l_ § § Q_

s l§g` (Q‘-`:S.-UO

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

n Contingent
ill unliquldaled
Cl Disputed

Type of NONFR|ORITY unsecured claim:

n Student loans

l:l Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

/g)ebts to pension or profit-sharing plans. and other similar debts

Other. Specify

Last4 digits of account number _O_ Q_ 0 l 3 b UQ-L[ 0

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

n Contingent
l`J unliquidated
El Disputed

Type of NONPR|OR|TY unsecured claim:

m Student loans

a Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

[] Debts to pension or profit-sharing plans. and other similar debts

/IZ’ olner. specify ___..1,

_$ . l .u,.c__'O'D

Last4 digits of account number _5_ _§__ éj___
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

n Contingent
l:.\ Unliquidated
n Disputed

Type of NONPR|OR|T¥ unsecured claim:

El Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

l;l D to pension or proiit~sharing plans, and other similar debts
Other. Speciiy

page __ of __

 

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Zolef>

Oflicial Form 106E/F

 

Nonpriority Creditol’s Name

P.r)\ 60 le lh§ %l cl
Number Street _~
So\m Anbm;@ (,;,

City State

Who incurred the debt? Check one.
/g/Debtor 1 only
` Debtor 2 only
n Debtor 1 and Debtor 2 only
l:l At least one of the debtors and another
l._.l Check if this claim is for a community debt

ls the claim subject to oifset?

No
n Yes

547(5

ZlP Code

 

Nonpriority Credil.or’s Name

 

Number Street

 

City State

Who incurred the debt? Check one.

[] Debtor1 only

l;\ Debtor 2 only

lIl oahtcrl and Debtor 2 only

cl At least one of the debtors and another

El check ir this claim is rcr a community debt

ls the claim subject to offset?

l:.i No
m Yes

ZlP Code

 

Nonpriority Creditor*s Name

 

Number Street

 

City State

Who incurred the debt? Check one.

l:l Debtor1 only

m Debtor2 only

l;l Debtor1 and Debtor 2 only

l:l At least one of the debtors and another

ill check ir this claim is for a community debt

ls the claim subject to offset?

EI_ No
l:l Yes

ZlP Code

Last 4 digits of account number _:7_ 2 2 _;{_) $ 5 § §§ 79`
When was the debt incurred?

As of the date you file, the claim is: Check all that applv.

n Contingent
El unliquidated
lI] oisputed

Type of NONPR|OR|TY unsecured claim:

m Student loans

l;l Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or proiit~sharing plans. and other similar debts
Other. Speclly

Last 4 digits of account number _

________,__ $

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

m Contingent
Cl unliquidated
El Disputed

Type of NONPR|OR|TY unsecured claim:

m Student loans

l;l Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

l;l Debts to pension or prolit-sharing plans, and other similar debts

El oman specify

7 …~r__¢ ~ ,, t. ._ , ,. _ …M~ ,~.o

Last 4 digits of account number

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply.

n Contingent
l:l Unliquidated
Ci Disputed

Type of NONPR|DR|TY unsecured claim:

l;\ Student loans

n Obligations arising out ot a separation agreement or divorce that
you dld not report as priority claims

n Debts to pension or protit»sharing plans, and other similar debts

n Other. Specify

Schedule ElF: Creditors Who Have Unsecured Claims page __ of _

 

Debtor 1

»

Bonnie K%§oewsq<:i;i§__i§é<a

05944-CC.] DOC 1 Filed 09/27/18 Page 38 Of 61

Case number (irknuwn)

 

Hrsi Name Middle Name Last Name

m List others to Be Notified About a Debt That You Aiready Listed

 

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. if you do not have additional persons to be notined for any debts in Parts 1 or 2, do not fill out or submit this page.

 

Name

 

Number

S treat

 

 

city

State ZlP Code

 

Name

 

Number

Street

 

 

city

State ZlP Code

 

Name

 

Number

Street

 

 

city

State ZlP Code

 

Name

 

Number

Street

 

 

City

State ZlP Code

 

Name

 

Number

Street

 

 

city

State ZlP Code

 

Name

 

Number

Street

 

 

C|ty

State ZlP Code

 

Name

 

Number

Street

 

 

city

Of&cial Form 106E/F

State ZlP Code

Schedule ElF: Creditors Who Have Unsecured Claims

On which entry in Part1 or Part 2 did you list the original creditor?

Line of (Check one): l;l Part 1: Creditors with Priority Unsecured Claims
Ci Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number ___

On which entry in Part 1 or part 2 did you list the original creditor?

Line of (Check one): El Part 1: Creditors with Priority Unsecured Claims

U Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number ____

On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check one): Cl Part 1: Creditors with Priorily Unsecured Claims

El Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number _

On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check one): l;l Part 1: Creditors with Priority Unsecured Claims

Cl Part 21 Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number _

On which entry in Part1 or Part 2 did you list the original creditor?

Line of (Check one): CI Part 1: Creditors with Priority Unsecured Claims

L'.l Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number _

On which entry in Part1 or Part 2 did you list the original creditor?

Line of (Check one): l;l Part 1: Creditors with Priority Unsecured Claims

U Part 21 Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number _ __

On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check one): Cl Part 1: Creditors with Priority Unsecured Claims

Cl Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number __ _

 

page __ of __

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Debtor1 Bonnie K Kurowski-Al_icea

First Name Middle Name Last Name

mem the Amounts for Each Type of Unsecured Claim

Case number (i/known)

 

6. Total the amounts of certain types of unsecured ciaims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each Wpe of unsecured ciaim.

Total claims
from Part 1

Total claims
from Part 2

Official Form 106E/F

6c

6d.

6e.

6h.

6i.

6 . Domestic support obligations

. Taxes and certain other debts you owe the

government

Claims for death or personal injury while you were
intoxicated

Other. Add all other priority unsecured claims.
Write that amount here.

Total. Add lines 6a through 6d.

. Student loans

. Obligations arising out of a separation agreement

or divorce that you did not report as priority
claims

Debts to pension or profit-sharing plans, and other
similar debts

Other. Add all other nonpriority unsecured claims.
Write that amount here.

6]. Total. Add lines 6f through 6i.

6a

6b.

60.

6d.

6e.

6i.

69.

6h.

6i.

6i.

Total claim

$ 12,000.00
$ 0.00

+$

 

 

$ 12,000.00

 

 

Total claim

$ Wo

$ 0.00
_WT

+$_M

 

 

311 L~lO‘“}
$ a@a.,eee».oc<)

 

 

Schedule ElF: Creditors Who Have Unsecured Claims

page __ of ___

 

Case 6:18-bl<-05944-CC.] DOC 1 Filed 09/27/18 Page 40 of 61

Fill in this information to identify your case:

Debtor1 Bonnie K Kurowskl-Alicea

First Name Middle Name Last Name

Debior 2 Thomas A Alicea

 

 

(Spouse, if nling) First Name Mlddle Name Last Name

United States Bankruptcy Court for the: District Of

Case number - Check if this iSZ
(if known)

 

El An amended filing

n A supplement showing postpetition chapter 13
income as of the following date:

GfilClal FOl'm 106l m
Schedule I: Your income luis

Be as complete and accurate as possible. if two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. if you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
if you are separated and your spouse is not filing with you, do not include information about your spouse. if more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

m Describe Employment

1. Fill in your employment . .
information Debtor 1 Debtor 2 or non-flllng spouse

 

 

 

 

lf you have more than one job,

attach a separate pa e with
information about ad§itiona| Employment status m Employed M Employed
employers M Not employed El Not employed

include part-time, seasonal, or
self-employed work.

 

 

 

 

 

 

- Pl\/l Xray Tech
Occupation may include student Occupau°n
or homemaker, if it applies
Employer’s name Centra Care
Employer’$ address 2600 Westhall Lane
Number Street Number Street
I\/|aitland FL 32751
City State Z|P Code City State ZlP Code
How long employed there? 2 years 2 years

m Give Detaiis About Monthiy income

Estimate monthly income as of the date you file this form. lf you have nothing to report for any line, write $0 in the space. include your non-filing
spouse unless you are separated.

|f you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
below. if you need more space, attach a separate sheet to this form.

For Debtor1 For Debtor 2 or
non-filing spouse

 

2. List monthly gross wages, salary, and commissions (before all payroll

 

deductions). lf not paid monthly, calculate what the monthly wage would be. 2, $ $ 2 576_00
3. Estimate and list monthly overtime pay. 3. + $ + $
4. Calculate gross income. Add line 2 + line 3. 4. $ $ 21576-00

 

 

 

 

 

Official Form 106l Schedule l: Your income page 1

 

 

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Mme Bonnie K Kurowski-Aiicea
First Name Middie Name Last Name

Case number (ifimewn)

 

For Debtor1 For Debtor 2 or

   

Copy line 4 here ............................................................................................... ') 4. $

5. List all payroll deductions:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

5a. Tax, Medicare, and Social Security deductions 5a. $ $ 456.00
5b. Mandatory contributions for retirement plans 5b. $ $
5<:. Voiuntary contributions for retirement plans 50. $ $
5d, Required repayments of retirement fund loans 5d. $ $
5e. insurance 5e. $ $
Sf. Domestic support obligations 5f. $ $
Bg. Union dues Sg. 3 $
5h. Other deductions. Specify: 5h. + $ + $
6. Add the payroll deductions Add lines 5a + 5b + 50 + 5d + 5a +5f + 59 + 5h. 6. $ $ 456.00
7. calculate total monthly cake-home pay. summer line 6 from line 4. 7. $ $ 2,102-00
8. List all other income regularly received:
Ba. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total $ $
monthly net income. 8a. m
Bb. interest and dividends Bb. $ $
80. Famiiy support payments that you, a non-filing spouse, or a dependent
regularly receive
include alimony, spousal support, child support, maintenance, divorce $ $
settlement, and property settlement Sc.
8d. Unempioyment compensation 8d. $ $
8e. Social Security 8e. $ $
8ft Other government assistance that you regularly receive
include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplementai
Nutrition Assistance Program) or housing subsidies
specify; si. $ $
89. Pension or retirement income 89. $ $
8h. Other monthly income. Specify: 8h. + $ + $
9. Add all other income Add lines se + ab + se + ad + se + af +ag + an 9. $ 0.00 $ 0.00
10.Caicu|ate monthly income. Add line 7 + line 9. _ $ O_OO + $ 2,102_00 = $ 2,102_00
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse 10. ____
11. State all other regular contributions to the expenses that you list in Schedule J.
include contributions from an unmarried partner', members of your household, your dependents your roommates, and other
friends or relatives
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specify: 11. '*‘ $__M
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. 2 102 00
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies 12. $_"_..1
Comblned

13. Do you expect an increase or decrease within the year after you file this form?

M No.

monthly income

 

l:i Yes. Explain:

 

 

 

Official Form 106l

Schedule l: Vour income

page 2

 

Case 6:18-bk-05944-CC.] DOC 1 Filed 09/27/18 Page 42 of 61

Fill in this information to identify your case:

Debiori Bonnie K Kurowski-Aiicea _ _ _ _
Firsl Name Mlddie Name LasiName Check if this lS.

 

Debler 2 Thomas A Alicea

 

Cl An amended ming

_ _ L:l A supplement showing postpetition chapter 13
United States Bankruptcy Court for the: DlStrlCt Of expenses as Of the foiiowing date:

(Spouse, if lillrig) First Name Middle Name Last Name

Case number MM / DD/ YYYY
(ifkrlown)

 

 

 

Official Form 106J
Schedule J: Your Expenses 12/15

Be as complete and accurate as possibie. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

m Describe Your Household

1. ls this a joint case?

 

 

n No. Go to line 2.
w Yes. Does Debtor 2 live in a separate household?

w No
m Yes. Debtor 2 must tile Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do ou have de endents?
y p n No Dependent’s relationship to Dependent’s Does dependent live

Do not list Debtor1 and § Yes_ Fill out ihis information for Debtor1 or Debtor 2 age with you?

 

Debtor 24 each dependent ..........................
E] No

Do not state the dependents Daughtei` 1 1 w
names. Yes

 

|;] No
l:l Ves

[] No
ij Yes

|;l No
Cl Yes

El No
n Yes

 

 

 

 

3. Do your expenses include w No
expenses of people other than m
yourself and your dependents? Yes

m Estimate Your Ongoing Monthly Expenses

 

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. if this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

include expenses paid for with non-cash government assistance if you know the value of

such assistance and have included it on Schedule I: Your lncome (Officia| Form 106|.) Y°Ur expenses
4. The rental or home ownership expenses for your residence. include first mortgage payments and ` w l A ii 750 00 y
$ , -
any rent for the ground or lot. 44

if not included in line 4:

4a. Real estate taxes 4a $
4b. Propertyl homeowner’sl or'renter`s insurance 4b. $
4c. Home maintenance repair, and upkeep expenses 4c. $ ZO0.00
4d. Homeowner's association or condominium dues 4d. $ 79~00

Official Form 106J Schedule J: Your Expenses page 1

 

Case 6:18-bk-05944-CC.] DOC 1 Filed 09/27/18 Page 43 of 61

Debtor1 Bonnie K Kurowski-Alicea

 

First Name Mlddle Name Lasi Name

 

 

 

 

 

 

Case numberiiirl<nawni

 

5. Additional mortgage payments for your residence, such as home equity loans
6. Utiiities:
6a Electricity, heat, natural gas
6b. Water, sewer, garbage collection
60. Telephonel cell phone, internet, satellite, and cable services
6d. Other. Specify:
7. Food and housekeeping supplies
8. Childcare and children’s education costs
9. Clothing, laundry, and dry cleaning
10. Personai care products and services
11. Medical and dental expenses
12. Transportaticn. include gas, maintenance, bus or train fare.
Do not include car payments
13. Entertainment, clubs, recreation, newspapers, magazines, and books
14. Charitabie contributions and religious donations
15. lnsurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a Life insurance
15b. Health insurance
150. Vehicie insurance
15d. Other insurance Specify:
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Speciiy_- Backdue Federal taxes
17. installment or lease payments:
17a. Car payments for Vehicie 1
17b. Car payments for Vehicie 2
17a. Other. Specify: RV
17d. Other. Specify:
18. Your payments of alimony, maintenance, and support that you did not report as deducted from
your pay on line 5, Schedule l, Your lncome (Official Form 106l).
19. Other payments you make to support others who do not live with you'.
Specify:
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule l: Your lncome.
20a Mortgages on other property
20b. Real estate taxes
20c. Property, homeowner’s, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses
20e. Homeowner's association or condominium dues
Ochia| Form 106J Schedule J: Your Expenses

Ga.
6b.
6c
6d.

13.
14.

15a.
15b.
15c.

15d.

17a.
17b.
17c.

17d.

181

19.

20a.
20b.
200.
20d.
20e.

Your expenses

%%69€96933€6€699

69'$€9% €£

9999%'%

MWG'EBEH

550.00
150.00
600.00

800.00

'iO0.00
100.00
200.00

200.00
150.00

250.00
300.00

157.00

620.00
357.00
680.00

page 2

 

Case 6:18-bk-05944-CC.] DOC 1 Filed 09/27/18 Page 44 of 61

Debtor 1 Bonnie K Kurowski'A"Cea Case number (rknown)

 

First Name Middle Name Lesi Name

21. Other. Specify:

 

22. Calculate your monthly expenses.
22a. Add lines 4 through 21.
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Oflicial Form 106J-2

220. Add line 22a and 22b. The result is your monthly expenses

23. Calculate your monthly net income.

23a Copy line 12 (your combined monthly income) from Schedule I.

23b. Copy your monthly expenses from line 220 above.

23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

[] No.
fm YeS» Explain here: Decrease with bankruptcy

Official Form 106J Schedule J: Your Expenses

 

21.

22a.

22b.

22c.

23b.

230.

 

+$

§ $ 7,743.00

i

§ $

§ $ 7,743.00
$ 2,102.00

,.$ 7,743.00
$ 0.00

 

 

page 3

 

 

Case 6:18-bk-05944-CC.] DOC 1 Filed 09/27/18 Page 45 of 61

Fill in this information to identify your case:

Debtor1 Bonnie K Kurowski-Alicea

First Name Middle Name Last Name

newer 2 Thomas A Alicea

(S Duse, iff`lllng) FirslName Midd|e Name LaslName
P

United States Bankruptcy Court for the: District of

Case number
(if known)

 

 

ij cheek ifihie is en
amended filing

 

Official Form 106Dec
Declaration About an lndividual Debtor’s Schedules wis

if two married people are filing together, both are equally responsible for supplying correct information.

 

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

UNo

n Yes. Name of person .Attach Bankruptcy Petition Preparer's Notice, Declaraiion, and
Signature (Olicia| Form 119).

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

  

 

 

x B nnie K urowski-A|icea x “Thomas AA|icea
Signature of Debtor 1 Signature of Debtor 2
Date 09/24/2018 Date 09/24/2018

MM/DD/YYYY ' MM/DD/YYYY

Ofncial Form 106Dec Dec|aration About an individual Debtor’s Schedules

 

Case 6:18-bk-05944-CC.] DOC 1 Filed 09/27/18 Page 46 of 61

Fill in this information to identify your case:

 

nebio,i Bonnie K Kurowski-Aiicea

 

 

First Name Middle Name Last Name
oebier 2 Thomas A Alicea
(Spouse, il f`\lir\g) First Name Middle Name Last Name
United States Bankruptcy Court for the: District of

Case number . . .
ilrknewn) n Check if this ls an

amended filing

 

 

Official Form 107
Statement of Financial Affairs for individuals Filing for Bankruptcy 04116

Be as complete and accurate as possibie. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

m Give Detaiis About Your Marital Status and Where You Lived Before

 

1. What is your current marital status?

d Married
Cl Net married

2. During the last 3 years, have you lived anywhere other than where you live now?

MNO

n Yes. List all of the places you lived in the last 3 years, Do not include where you live now.

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1: Dates Debtor 1 Debtor 2: Dates Debtor 2
lived there lived there
n Same as Debtor1 n Same as Debtor 1
From F"°m
Number Street Number Street
To To
City State ZlP Code City State ZlP Code
n Same as Debtor 1 n Same as Debtor 1
From F'Om
Number Street Number Street
To To
City State ZlP Code City State ZlP Code

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

§No

[J Yes. Make sure you fill out Schedule H: Your Codebtors (Ofticia| Form 106H).

Exp,iain the Sources of Your income

 

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 1

Case 6:18-bl<-05944-CC.] Doc 1 Filed 09/27/18 Page 47 of 61

Bonnie K Kurowski-Alicea

Hrst Name Middle Name

Debtor 1

Last Name

Case number (irknowni

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses including part-time activities
|f you are tiling a joint case and you have income that you receive together, list it only once under Debtor 1.

n No
lSZl Yes. Fill in the details

From January 1 of current year until
the date you filed for bankruptcy:

For last calendar year:

Debtor 1

Sources of income
Check all that apply.

w Wages, commissions,
bonuses, tips

w Operating a business

w Wages, commissions
bonuses, tips

(January 1 to December 31.2YYYY012 l EZl operating a business

For the calendar year before that:

(January 1 to December 31 , 2016
YYYY

w Wages, commissions,
bonuses, tips

) M Operatinga business

Gross income

(before deductions and
exclusions)

$ 80,000.00
$ 95,000.00
$ 125,000.00

5. Did you receive any other income during this year or the two previous calendar years?
lnclude income regardless of whether that income is taxable Examples of other income are alimony; child support Social Security,
unemployment and other public benetit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. |f you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

Debtor 2

Sources of income
Check all that apply.

w Wages, commissions,
bonuses, tips

n Operating a business

M Wages, commissions,
bonuses, tips

n Operatlng a business

M Wages, oommissions,
bonuses, tips

m Operating a business

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

l] No
Cl Yes. Fiii in the details

From January1 of current year until
the date you filed for bankruptcy:

For last calendar year:

(January 1 to December 31 ,2017
vYYY

For the calendar year before that:

(January 1 to December 31,2016 )
YYYY

Officlal Form 107

Debtor 1

Sources of income
Describe below.

Gross income from
each source

(before deductions and
exclusions)

Debtor 2

Sources of income
Describe below.

 

 

 

 

Statement of Financial Affairs for lndividuals Filing for Bankruptcy

Gross income

(before deductions and
exclusions)

$ 8,419.00
$ 30,000.00
$ 30,000.00

Gross income from
each source

(before deductions and
exclusions)

page 2

 

Debtor 1

Case 6:18-bl<-05944-CC.] Doc 1 Filed 09/27/18 Page 48 of 61

Bonnie K Kurowski-Alicea

 

Fllsl Name

Middle Name

Last Name

Case number (irl¢newn)

m List Certain Payments ¥ou Made Before you Filed for Bankruptcy

 

 

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

n No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose."

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

l;l No. Go to line 7.

m Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the

* Subject to adjustment on 4/01/19 and every 3 years after that for cases tiled on or after the date of adjustment

total amount you paid that creditor. Do not include payments for domestic support obligations such as
child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

m Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

El Net eo to line 7.

M Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

Offlcia| Form 107

Chrysler Financial

Dates of
payment

Total amount paid

08/27/2018 $

620.00 $

Amount you still owe

25,000.00

 

Credllol"s Name

 

Number Street

 

 

Clly State

l\/I&T Bank

ZlP Code

07/15/2018

 

Credilor’s Name

 

Number Street

 

 

City State

ZlP Code

 

Creditor’s Name

 

Number Streel

 

 

City State

ZlP Code

$

680.00 $

89,000.00

Statement of Financial Affairs for individuals Filing for Bankruptcy

Was this payment for...

n Mortgage

g car

|;l credit card

n Loan repayment

m Suppliers or vendors
l;| other

m M_ortgage

n Car

n Credit card

g Loan repayment

m Supp|iers or vendors
n Other

m Mortgage

n Car

cl Credit card

n Loan repayment

n Supp|iers or vendors

m Other

page 3

 

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Debtor1 Bonnie K Kurowski-Alicea

Case number (irknnwn)
First Name Middle Name Last Name

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
lnsiders include your relatives; any general partners; relatives of any general pariners; partnerships of which you are a general partner;
corporations of which you are an otiicer, director, person in control, or owner of 20% or more of their voting securities; and any managing

agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. include payments for domestic support obligationsl
such as child support and alimony

MNo

m Yes. List all payments to an insider.

 

 

 

 

 

Dates of Total amount Amount you still Reason for this payment
payment paid owe
$ $
lnsider‘s Name
Number Street
City State ZlP Code
$ $

 

insider`s Name

 

Number Street

 

 

City State ZlP Code

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
an insider?

include payments on debts guaranteed or cosigned by an insider.

MNo

m Yes. List all payments that benetited an insider.

Dates of Total amount Amount you still Reason for this payment

payment paid owe include creditor's name

 

$
lnsider's Name $

 

 

Number Street

 

 

City State ZlP Code

 

insider's Name

 

Number Street

 

 

City State ZlP Code

Ofncial Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy \ page 4

 

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Debtor1 Bonnie K Kurowski-Aiicea

Case number (rrknawn)
First Name Middle Name Lesi Name

 

m identify Legal Actions, Repossessions, and Foreciosures

 

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications
and contract disputes

MNo

Ei Yes. Fill in the details

 

 

 

 

 

 

 

 

Nature of the case Court or agency Status of the case
case title Court Name n Pending
a On appeal
Number Street m COi’lCluded
Case number
City State ZlP Code
Case title Court Name n pending
n On appeal
Number street l] concluded
Case number
City State ZlP Code

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed garnished, attached seized, or levied?
Check all that apply and fill in the details below.

§ No. Go to line 11.
m Yes. Fill in the information below.

Describe the property Date Value of the property

 

Creditor's Name

 

Number Street Explain what happened

n Property was repossessed

l:l Property was foreclosed

[] Property was garnished

city state zlP code 0 Property was attached seized, or levied

 

 

Describe the property Date Value of the property

 

Creditor’s Name

 

Number Slreet
Explain what happened

El Property was repossessed

 

n Property was foreclosed
El Property was garnished
ill

 

City State ZlP Code
Property was attached seized, or levied

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 5

 

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Debtor 1 Bonnie K Kurowski'A“Cea Case number (irrmown)

 

 

Hrsl Name Middle Name Last Name

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

mNo

E] Yes. Fill in the details

 

 

 

 

 

Describe the action the creditor took Date action Amount
was taken
Creditor’s Name
$
Number Street
C"Y Slale Z'P Code Last 4 digits of account number: XXXX-

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

w No
m Yes

m List Certain Gifts and Contributions

13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

M No
n Yes. Fill in the details for each gitt.

 

 

 

 

 

 

 

 

 

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
$
Person to Whom You Gave the Gifl
$
Number Street
City Slaie ZlP Code
Person's relationship to you
Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
$
Person to Whom You Gave tile Gilt
$

 

 

 

Number Street

 

City Slaie ZlP Code

Person's relationship to you

thcial Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 6

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Debtor1 Bonnie K Kurowski-Alicea

Case number (irknewn)
First Name Middle Name Las| Name

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

MNo

n Yes. Fill in the details for each gift or contribution.

Glfts or contributions to charities Describe what you contributed Date you Value
that total more than $600 contributed

 

Charity`s Name

 

 

Number Street

 

City State ZlP Code

m List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?
g No

C] Yes. Fill in the details

Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property
how the loss occurred _ _ _ , _ loss lost

include the amount that insurance has paid List pending insurance

claims on line 33 of Schedule A/B: Property,

List Certaln Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

M No
Cl Yes. Fill in the details

 

 

 

 

Description and value of any property transferred Date payment or Amount of payment
transfer was
Person Who Was Paid made
Number Street $
$

 

 

City Siate ZlP Code

 

Emai| or webslte address

 

 

Person Who Made the Payment, if Noi You

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 7

 

 

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Debtor1 Bonnie K Kurowski-Alicea

Case number (irknewn)
First Name Middle Name Losl Name

 

Description and value of any property transferred Date payment or Amount of
transfer was made payment

 

Person Who Was Paid

 

Number Street

 

 

City State ZlP Code

 

Email or websile address

 

Perscn Who Made the Paymenl, ll Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

MNO

Ci Yes. Fill in the details

 

 

 

Description and value of any property transferred Date payment or Amount of payment
transfer was
made
Person Who Was Pald
Number Street $
$

 

City State ZlP Code

 

18. Within 2 years before you filed for bankruptcy, did you sei|, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement
M No
Ei Yes. Fill in the details

Description and value of property Describe any property or payments received Date transfer
transferred or debts paid in exchange was made

 

Person Who Recelved Transfer

 

Number Street

 

 

City State ZlP Code

Person's relationship to you

 

Person Who Recelved Trarister

 

Number Street

 

 

City State ZlP Code

Person's relationship to you

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 8

 

 

Case 6:18-bk-05944-CC.] DOC 1 Filed 09/27/18 Page 54 of 61

Debtor1 Bonnie K Kurowski-Alicea

Case number (Hknawni
Firsl Name Middle Name Last Name

 

19.Within 10 years before you filed for bankruptcy, did you transfer any property to a selfsettled trustor similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

n No
Cl Yes. Fill in the details

Description and value of the property transferred Date transfer
was made

Name of trust

 

List certain Financial Accounts, lnstruments, Safe Deposit Boxes, and Storage units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?

lnclude checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

MNo

El Yes. Fill in the deteils.

 

 

Last 4 digits of account number Type of account or Date account was Last balance before
instrument closed, sold, moved, closing or transfer
or transferred
Name of Financial institution
XXXX- El checking $
Number Street n savings

n Money market

 

n Brokerage

 

 

 

City State ZlP Code n Other
xxxx- El checking $
Name of Financial institution
cl Savings
Number Street u Money market

m Brokerage

 

n Other

 

City State ZlP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?

M No
El Yes. Fill in the details

 

 

Who else had access to it? Describe the contents Do you still
have it?
a No
Name of Financial lnstitution Nam8 m YeS

 

 

Number Street Number Street

 

 

City State le Code

 

 

City State ZlP Code

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 9

 

 

Case 6:18-bk-O5944-CC.] DOC 1 Filed 09/27/18 Page 55 of 61

Debtor1 Bonnie K Kurowski-Alicea

Case number (r/km>wn)
First Name Mlddle Name Last Name

 

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
w No

ij Yes. Fill in the details

 

 

 

 

 

 

Owner’s Name

 

 

" L Street
Number Street

 

 

 

 

City State ZlP Code
City State ZlP Code

m lee Details About Environmental lnfonnation

For the purpose of Part 10, the following definitions app|y:

 

a Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of

hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

a Sl'te means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

1a Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar tenn.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

Who else has or had access to it? Describe the contents Do you still
have it?
n No
Name of Storage Facillty Name n Yes
Number Street Number Street
citystate ziP code
City State ZlP Code
m ldentify Property \'ou Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? lnclude any property you borrowed from, are storing for,
or hold in trust for someone.
No
El Yes. Fill in the details
' Where is the property? Describe the property Value

24. Has any governmental unit notified you that you may be liable or potentially liable under cr in violation of an environmental law?

MNo

E] Yes. Fill in the details

 

 

 

 

Govemmental unit Environmental law, if you know it
Name of site Govemmental unit
Number Street Number Street
City State ZlP Code
City State ZlP Code
thclal Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy

Date of notice

page 10

 

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Debtor 1 Bonnie K Kurowski'A“Cea Case number (irknewn)
Flrsi Name Midd|e Name Lasl Name

 

 

25.Have you notified any governmental unit of any release of hazardous materiai?

MNo

El Yes Fill in the details

 

 

 

Governmental unit Environmental law, if you know it Date of notice
l
l
§ Name of site Govemmentai unit
Number Street Number Street
City State ZlP Code

 

city state zlP cede

26.Have you been a party in anyjudicial cr administrative proceeding under any environmental iaw? include settlements and orders.

MNo

Cl Yes Fill in the details

 

 

Court or agency Nature of the case :;:t:s of me
Case title
Court Name m Pendmg
n On appeal
Number Street n Conciuded
case '“""be' city state zlP code

m Give Details About Your Business or Connections to Any Business

 

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
n A sole proprietor or self-employed in a trade, profession, or other activity, either fuii~time or part-time
M A member of a limited liability company (LLC) or limited liability partnership (LLP)
n A partner in a partnership
n An officer, director, or managing executive of a corporation

n An owner of at least 5% of the voting or equity securities of a corporation

m No. None of the above applies. Go to Part 12.
q Yes. Check ali that apply above and fill in the details below for each business.
Describe the nature of the business Employer identification number

Pro]ect Change Consu|tants’ LL Do not include Social Security number or lTiN.

Business Name

3033 Santa Maria Ave Consumng ElN: j _6 _2 4 6 1 1 6 9

 

 

Number Street

 

 

Name of accountant or bookkeeper Dates business existed
Clermont FL 34715 From 06_/0_1_/_22131‘0 _______
City State ZlP Code

Describe the nature of the business Employer identification number

 

. Do not include Social Security number or iTlN.
Business Name

 

 

ElN: __-______.____
Number Street
Name of accountant or bookkeeper Dates business existed
From To

 

 

city state zll> cede

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 11

 

 

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Debtor1 Bonnie K Kurowski-Aiicea case number (.~rknowni
F-“lrsl Name Middle Name Lasi Name

 

 

Describe the nature of the business Employer identification number

Do not include Social Security number or lTiN.

 

Business Name

 

 

EiN:__-________
Number Street .
Name of accountant or bookkeeper Dates business existed
From To

 

City State Z.iP Code

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include all financial
institutions, creditors, or other parties.

mNo

El Yes Fill in the details belew.

Date issued

 

Name WDDTYYY_

 

Number Street

 

 

City State ZlP Code

l have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the
answers are true and correct. l understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can resu in'fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571. `

  

 

x Bonni Kurowski-Aiicea x Thomsa A Alicea
Signature of Debtor 1 Signature of Debtor 2
Date 09/24/2018 Date 09/17/2018

Did you attach additional pages to Your Statement of Financial Affairs for Indivl'duals Filing for Bankruptcy (Officiai Form 107)?

M No
n Yes

Did you pay or agree to pay someone who is not an attorneth help you fill out bankruptcy forms?
El No

lsd Yes. Name of person . Attach the Bankruptcy Petition Preparefs Notice,
Declaration, and Signature (Offlcia| Form 119).

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 12

 

 

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Fill in tliis'information to identify your case:

   

Debtor1 Bonnie K Kurowski-Alicea

 

 

 

First Name Middie Name Lasl Name
Debtor 2 Thomas A Alicea
(Spouse, iffiiing) Firsi Name Middle Name LesiName
United States Bankniptcy Court for the: District Of
ease number El check if this is an
titlmewn) amended filing

 

Gfi"lcial Form 108
Statement of intention for individuals Filing Under Chapter 7 wis

 

if you are an individual filing under chapter 7, you must fill out this form if:

l creditors have claims secured by your property, or

l you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form,

lf two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form,

Be as complete and accurate as possible. if more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

m List Your Creditors Who Have Secured Claims

 

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Officiai Form 106D), fill in the
information beiow.

 

 

identify the creditor and the property that is collateral What do you intend to do with the property that Did you claim the property
secures a debt? as exempt on Schedule C?
Creditors . .
name: Chrysler Fmanclal n Surrenderthe property. Cl No
n Retain the property and redeem it. § Yes
pD;Sp(::.?;mn of 2018 Jeep Cherokee M Retain the property and enter into a
Securing debt Reaffirmation Agreement.
[] Retain the property and [explain]:
Creditor's
name: Navy Federa| n Surrender the property. n No
El Retain the property and redeem it. M Yes
D ' t' f
p;;::,?ylon o 2015 Camero m Retain the property and enter into a
Securing debt Reaffirmation Agreement.
ij Retain the property and [explain]:
Ea";?:_°fs M&T Bank m Surrender the property. M No
. n Retain the property and redeem it. Cl Yes
E;;::.?;'On of RV n Retain the property and enter into a
Securing debt Reafiirmation Agreement.

Ei Retain the property and [explain]:

 

Creditor’s

name: Mr_ Cooper n Surrenderthe property. El No
El Retain the property and redeem it. M Yes

Des°"p"°" °l Reeidentiel Home 3033 santa lvleri m ~ -

property " 3 Retain the property and enter into a

Securing deth Ave Reafl‘irmation Agreement.

n Retain the property and [explain]:

 

Official Form 108 Statement of intention for individuals Filing Under Chapter 7 page 1

 

 

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Debtor1 Bonnie K Kurowski-Alicea case number (//km,wn>

 

 

First Name Middle Name Last Name

m List Your Unexpired Personai Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 1066),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
ended. Vou may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases Will the lease be assumed?

Lessor's name: n No
D Y

Description of leased es

property:

Lessor’s name: ij No

Description of leased n Yes

property:

Lessor’s name: |:| No

Description of leased E\ Yes

property:

Lessor’s name: ij No
El Yes

Description of leased

property:

Lessor’s name: 0 No
[] Yes

Description of leased

property:

Lessor’s name: [] NO

_ m Yes

Descnption of leased

property:

Lessor’s name: n No
El Yes

Description of leased
property:

Under penalty of p jury, l declare that | have indicated my intention about any property of my estate that secures a debt and any
personal prope hat is subje£t£g`angnexpired lease,

K Kurozv:/si:£/§Lce:/W) x l homes A Alicea

   

 

 

X Bonni
Signature of Debtor 1 Signature of Debtor 2
Date 09/24/2018 Date 09/24/2018
MM/ DD l YYYY MM/ DD/ YWY

Oficial Form 108 Statement of lntention for lndividuals Filing Under Chapter 7 page 2

 

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Fi" in this information to identify your Case; Check one box only as directed in this form and in

Form 122A-1Supp:

Debtor1 Bonnie Kurowski-Alicea

 

 

 

mmame Mdd'e Name Lasmame M 1 The e 's no resum tion of ab se
. c r i u .
nebiorz Thomas A Alicea P P
(Spouse ifiling> Flr=\Name Midd\eNvme L»SlNSr-ie Cl 2. The calculation to determine if a presumption of
v _ _ abuse applies will be made under Chapter 7

United States Bankruptcy Court forthe; District of Means Test Calculation (Officiai Form 122A_2)‘
Case number . El 3. The Means Test does not apply now because of
<"k"°W") qualified military service but it could apply later.

 

 

 

n Check if this is an amended filing

Official Form 122A-1

 

Chapter 7 Statement of Your Current Month|y income iz/is

Be as complete and accurate as possible, lf two married people are filing together, both are equally responsible for being accurate. lf more
space is needed, attach a separate sheet to this fonn. include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). lf you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under§ 707(b)(2) (Official Form 122A-1Supp) with this form.

m Calculate Your Current Monthly lncome

1. What is your marital and filing status? Check one only.
ij Not married. Fill out Column A, lines 2-11.
m Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

 

l:] Married and your spouse is NOT filing with you. You and your spouse are:
[;] Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

ij Living separately or are legally separated Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
spouse are living apart for reasons that do not include evading the Means Test requirements 11 U.S.C. § 707(b)(7)(B).

Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
August 31. lf the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
income from that property in one column only. |f you have nothing to report for any line, write $0 in the space

Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions
(before all payroll deductions). $ O-OO $ 1,288.00

3. Alimony and maintenance payments. Do not include payments from a spouse if
Column B is filled in. $1.__ $

4. All amounts from any source which are regularly paid for household expenses
of you or your dependents, including child support. lnclude regular contributions
from an unmarried partner, members of your household, your dependents, parents,
and roommates. lnclude regular contributions from a spouse only if Column B is not

 

hiled in. Do not include payments you listed on line 3. $_- $
5. Net income from operating a business, profession, Debtor 1 Debtor 2
; or farm
Gross receipts (before all deductions) $_____ $____
Ordinary and necessary operating expenses - $ - $
Net monthly income from a business, profession, or farm $ $ :::;y_) $ $
6. Net income from rental and other real property Debtor1 Debtor 2
Gross receipts (before all deductions)
Ordinary and necessary operating expenses -- $ - $
§ Net monthly income from rental or other real property $ $ :;£y_) $
7. lnterest, dividends, and royalties ` $

Official Form 122A~1 Chapter 7 Statement of Your Current Monthly lncome page 1

 

 

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Debtor1 Bonnie Kurowski-Alicea case number<,~rkmwni

 

 

First Name Middle Name Last Name
Column A Column B
Debtor 1 Debtor 2 or
y non-filing spouse
8. Unempioyment compensation $ $

Do not enter the amount if you contend that the amount received was a benth
under the Social Security Act. lnstead, list it here: ...............................

For you .. $

For your spouse. $

9. Pension or retirement income. Do not include any amount received that was a
benefit under the Social Security Act. $ $

10. lncome from all other sources not listed above. Specify the source and amount.
`, Do not include any benths received under the Social Security Act or payments received
; as a victim of a war crime, a cn`me against humanity, or international or domestic
terrorism. |f necessary, list other sources on a separate page and put the total below.

 

 

 

 

 

 

 

 

 

 

 

_ ._ $

i $M_______ $
§ Total amounts from separate pages, if any, + $ + $
11. Calculate your total current monthly income. Add lines 2 through 10 for each + _
'f column. Then add the total for Column Ato the total for Column B. ~i $ 0.00;§ § $ 2,576.00 :'_ $ 2,576.00
§ § Total current
`i monthly income
m Determine Whether the Means Test Applies to You
§ 12. Calculate your current monthly income for the year. Follow these steps: y
§ 12a. Copy your total current monthly income from line 11. ..... copy line 11 here') $_Z,_§_'/_Q._QQ
§ Multip|y by 12 (the number of months in a year). X 12
f 12b. The result is your annual income for this part of the form. 12b. $_SQ,§HZ.D_O
13. Calculate the median family income that applies to you. Follow these steps:

Fiii in the stare in which you iive. Fi_

Fill in the number of people in your household 3

Fill in the median family income for your state and size of household 13. $ 50,860-00

 

 

 

 

To find a list of applicable median income amounts, go online using the link specified in the separate
instructions for this form. This list may also be available at the bankruptcy clerk’s oche.

14. How do the lines compare?

14a i Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption ofabuse.
Go to Part 3.

14b. l;l Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A~2.
Go to Part 3 and till out Form 122A-2,

By signing here, l decla;: under penalty of peijury that the information on this/st

w ki-Aiicea

 

 

 

 

X Bonnie K K
Signature of Debtor 1 Signature of Debtor 2
Date 09/24/2018 Date 09/24/2018
MM/DD lYYYY MM/DD /YYYY

lf you checked line 14a, do NOT till out or file Form 122A_2.
lf you checked line 14b. Hll out Form 122A-2 and file it with this form.

Official Form 122A-1 Chapter 7 Statement of Your Current Month|y lncome page 2

